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        Pursuant to this Court’s Order (dated March 31, 2022, Dkt. No. 117)

(“Order”), Plaintiff complains1 of Defendants (including in the new allegations

made at paragraphs 37, 55, 57, 209-333 pursuant to the Order) as follows:

                           SUMMARY OF ALLEGATIONS

        1.     From at least as early as April 2020, the Vega Defendants2 combined,

conspired, and agreed to depress on April 20, 2020 prices of the May 2020 West

Texas Intermediate (“WTI”) Light Sweet Crude Oil futures contract (“May

Contract”) which is traded on the Chicago Mercantile Exchange (“CME”) Globex

platform. See ¶¶ 30-59 (specifying the Vega Defendants).

        2.     Though not a necessary condition to the manipulation of a futures

contract price, each of the following steps is a sufficient condition to manipulate a

futures contract price.

        a.     A combination of market participants exerts significant cumulative net

selling pressure on a futures contract over a specific time period. Cumulative net

selling pressure means a market participant’s sales of a futures contract minus their



1
  Plaintiff complains based on personal knowledge as to ¶29 and information and belief as to all
other paragraphs. Plaintiffs’ information includes CME records, Vega records produced to the
CME, news articles, the materials referenced and alleged in this Complaint, and the investigation
of counsel.
2
  As used in this complaint, the “Vega Defendants” means VEGA CAPITAL LONDON, LTD.,
Individual A Trader 1          Trader 2           Trader 3          Trader 4
Trader 5      Trader 6           Trader 6        Trader 8        Trader 9 Trader 10
Trader 11 Trader 12               and Vega Defendant John Does 1-4.
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purchases of such futures contract during a specified time period. See ¶ 129 below.

Here, Defendants agreed to and did abuse the Trade at Settlement (“TAS”) feature

of the May Contract to build up their cumulative net selling pressure on the May

Contract.3 See ¶129.

        b.     A market participant uses their sales in a futures contract as

manipulative “ammo”. See ¶ 103. “Ammo” has been recognized by the United

States CFTC and the United Kingdom Financial Control Authority (“FCA”) as a

term used by manipulators. See ¶¶104-105; and fn. 5-6. The term “ammo” signifies

possession of the ability to make a quantity of transactions in a manner in which

the transactions will depress or inflate futures contract prices. See ¶¶ 103-105.

Trader 12                          and Trader 9




3
  As recently stated by Commodity Futures Trading Commission (“CFTC”) Commissioner Dan
Berkovitz on November 24, 2020: “The potential for TAS trading to artificially affect the
settlement price of a contract is well known; indeed, the CFTC has brought two enforcement
cases based on the use of TAS to manipulate the price of futures contracts.” See
https://www.cftc.gov/PressRoom/SpeechesTestimony/berkovitzstatement112320a.
Commissioner Berkovitz also expressed his view that the CFTC should look into the TAS
trading activity in its investigation of the precipitous drop and rebound of WTI oil trading prices
on April 20-21.
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164 (alleging the CME’s definition of “aggressive” transactions and Defendants’

buildup of their significant cumulative net aggressive sales pressure).

      3.     Although any one of the above steps would have sufficed to

manipulatively depress prices, Defendants agreed to and did engage in all of the

foregoing types of manipulative steps and thereby greatly depressed May Contract

prices on April 20.

      4.     Regarding Defendants’ combination and agreement to depress prices,

the manipulation of an entire market is something that persons can better

accomplish working in a combination and pursuant to an agreement rather than

individually. Yet even the broadest agreements and best manipulations entail risks.

Here, the Vega Trading Defendants each committed their capital to Vega to

guarantee one another’s losses. Such Defendants effectively acted as co-

guarantors to Vega of one another’s financial outcomes. This is exactly the type of

agreement which would facilitate joint efforts to manipulate prices as well as

Vega’s involvement with such efforts.

      5.     Also indicating Defendants’ agreement, Defendant Trader 1                 , in

his own words,               all but two of the other Vega Trading Defendants.

Further indicative of an agreement, the five Vega Trading Defendants who build

up the largest May Contract short positions, did so in a manner that is extremely

highly correlated on a minute-by-minute basis with one another as well as with


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Defendant Trader 1          buildup of his May Contract short position. See ¶¶142-

43. This is extremely unlikely to happen by independent decision making or freak

occurrence. It is highly consistent with a very carefully executed agreement to

build cumulative net selling pressure on the market in a manner which will succeed

in depressing prices.

      6.     Confirming that these multiple high correlations among many

Defendants’ May Contract short positions did not result from chance, there was a

high degree of communications among Vega Trading Defendants on April 20. This

includes communications in which they coordinate trades (which helps to explain

the high degree of correlation in the growth of their positions). They also

communicated to track what one another was doing and make sure they were going

short May Contracts and long TAS contracts to build up net selling pressure on the

May Contract. See below.

      7.     Likewise, when Defendants exulted in the successful outcome of their

manipulation after the close of trading in the May Contract on April 20, Defendant

Trader 9
                             See ¶ 179 below. In fact, the Vega Trading Defendants

had used the foregoing four means of manipulation (alleged at ¶2 a-d) to

overwhelm and “blitz” through the limited buying pressure in the May Contract.

As the Vega Defendants’ cumulative net selling pressure and manipulative ammo


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about the “risks” of continuing to do business with Defendant Vega and the Vega

Trading Defendants. Id.

      10.    As a result of Defendants extensive combination to overwhelm and

depress the May Contract prices on April 20, Defendants proximately caused

extremely artificial prices in the May Contract.

      11.    Futures market “spreads” are the difference between the price of a

futures contract expiring in one month and the price of a futures contract expiring

in a different month

      12.    Using futures contract spreads is a standard way to analyze whether

the prices of a futures contract have deviated from supply and demand or are

artificial in an economic sense of the term. The supply and demand for crude oil

was substantially similar and the same on Friday April 17, Monday April 20, and

Tuesday April 21. Based on a statistical analysis of the spread between the prices

of the May Contract and the June WTI contract, and using a control period of

January 2 until April 17, 2020, Plaintiff has good grounds to believe and does

allege as follows.

      13.    During trading on April 20, the spread between the May Contract

price and the June Contract price declined by an extreme amount. In fact, the

amount of the decline was 138 standard deviations. A computer calculation of the




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probability of this occurring in a competitive market untainted by manipulation

returns a result of exactly zero.

      14.    However, after 1:30 p.m. on April 20, Vega no longer had market

power over May Contract trading. The May June spread then snapped back and

increased to (and above) the levels on which such spread had closed on April 17,

2020. The statistical chance of this occurring in a competitive market is

extraordinarily small. And the statistical chance that the May June spread, in a

competitive market, would decline by so much on April 20 and then snapback so

much on April 21 is even smaller.

      15.    Because there were virtually no changes in supply and demand for

crude oil between April 17 and April 21, much less dramatic decreases in the

supply demand balance on April 20 followed by overwhelming increases in the

supply demand balance on April 21, the fundamentals cannot explain what

happened to prices here. However, Vega’s four types of manipulative conduct were

present in the May Contract on April 20 until 1:30 pm and then were removed

from the May Contract after 1:30 pm on April 20.

      16.    Accordingly, the Vega Defendants’ blatantly manipulative “ammo”

selling and other manipulative steps alleged in ¶2 (a)-(d) are the proximate cause of

the artificially depressed May Contract prices on April 20.




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      17.    Plaintiff and members of the Class (as defined in ¶210) were directly

injured by the Vega Defendants’ agreement and conduct. Among other things,

Plaintiff and Class members were injured in that they sold May crude oil futures

contracts to liquidate their long positions at artificially low prices. See ¶¶ 218-220

below.

                          JURISDICTION AND VENUE

      18.    The CME Group’s global headquarters are located in this District at

20 South Wacker Drive, Chicago, Illinois 60606. The May Contracts traded on the

CME Group’s electronic trading platforms Globex and ClearPort. The CME

Group’s electronic Globex trading platform is housed approximately thirty-five

miles from the CME Group’s headquarters in Aurora, Illinois. All May Contract

transactions, including Plaintiff’s and Defendants’ May Contract transactions, were

entered and executed in this District.

      19.    WTI crude oil is a “commodity” and is the “commodity underlying”

the WTI crude oil futures contracts traded on the CME Globex, as those terms are

defined and used in Sections 1a(4) and 22 of the CEA, 7 U.S.C. §§ 1a(4) and

25(a)(1)(D), respectively.

      20.    Defendants made use of the means and instrumentalities of

transportation or communication in, or the instrumentalities of, interstate



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commerce, or of the mails in connection with the unlawful acts and practices and

courses of business alleged in this complaint.

        21.   The Court has subject matter jurisdiction over this action pursuant to 7

U.S.C. §25, Section 4 of the Clayton Act, 15 U.S.C. §15 and 28 U.S.C. §§1331 and

1337.

        22.   The Court has personal jurisdiction over Defendants pursuant to

Section 12 of the Clayton Act, 15 U.S.C. § 22. Defendants have minimum

contacts with the United States, transacting business in this District, including by

electronically placing trades in NYMEX WTI crude oil futures contracts on the

Chicago Mercantile Exchange (“CME”) Globex and CME ClearPort trading

platforms.

        23.   General venue is proper in the Northern District of Illinois pursuant to

7 U.S.C. §25(c), 15 U.S.C. §22 and 28 U.S.C. §1391(b), (c), and (d).

        24.   The Court also has personal jurisdiction over Defendants and venue is

proper pursuant to Section 22 of Commodity Exchange Act, 7 U.S.C. § 22.

Defendants transact business in this judicial district and the CEA violations

occurred in this District.

        25.   Plaintiff’s and Defendants’ brokers are located in this District. See

¶¶27, 67. The price manipulation occurred and the claims arose in this District.




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Also, a substantial part of the events or omissions giving rise to the claims arose in

this District.

       26.



       27.




       28.       The ICE has a colocation data center in this District as well as in

Mahwah, New Jersey and Basildon, United Kingdom.

https://www.theice.com/connectivity-and-feeds/icecolocation

                                         PARTIES

                    A. Plaintiff

       29.       Plaintiff Mish International Monetary, Inc. is a California corporation

with its principal place of business in Menlo Park, California. On the afternoon of

April 20, 2020, Plaintiff Mish sold, through his brokers located in this District, ten

(10) May Contracts at negative prices in order to liquidate a long position in such

contract. Plaintiff Mish incurred a net loss of approximately $92,490 in connection

with the foregoing transactions executed in this District. Plaintiff sold at the

artificially low May Contract prices registered which occurred in this District due

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to Defendants’ manipulative impact on the trading executed and the order book

maintained for May Contracts in this District. As alleged hereafter, Plaintiff is

entitled to recover damages from Defendants, including actual damages, treble

damages and other relief.

                 B. Defendants

      30.    Defendant Vega Capital London, Ltd. (“Vega”) is a corporation

organized and existing under the laws of the United Kingdom, incorporated on

May 13, 2016, with a registered office in Essex, England and a principal place of

business in London, England. Defendant Vega maintained a trading account with

United States Futures Commissions Merchant (“FCM”) G.H. Financial LLC. See

¶¶ 248, 263 below.



      31.    In its trading account with GH Financial, Vega maintained multiple

accounts and scores of sub-accounts. Part of these sub-accounts, those in

contained the accounts of the Vega Trading Defendants, whose names are alleged

in ¶39 below, except for Defendant Trader 7           whose account was in

  But the Vega Trading Defendants did not have accounts with GH Financial and

GH Financials’ only customer was Vega. Defendant Vega’s accounts included a

master account




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      32.    All of the Vega Trading Defendants entered their orders and made

their trades (of which Plaintiff is so far aware in the May Contract) with GH

Financial in the name of and through Defendant Vega.

      33.    On October 26, 2017, Defendant Vega registered with the FCA as an

Appointed Representative of Starmark Investment Management Limited

(“Starmark”). Defendant Vega terminated its registration with the FCA on August

13, 2019.

      34.    Currently, Vega is wholly owned by Defendant Individual A

(see ¶34 below). As of Vega’s incorporation on May 13, 2016, Anthony Gibson

was its sole shareholder. On July 1, 2017, Dean George Scott acquired all

outstanding shares from Mr. Gibson. On September 26, 2017, Individual A and

Tommy Gaunt each acquired half of Mr. Scott’s shares, so that they co-owned the

company equally. On October 23, 2019, after Defendant Vega had de-registered

with the FCA, Individual A        acquired all of Mr. Gaunt’s shares.

      35.    According to its filings with the UK’s Companies House, Defendant

Vega had zero employees in 2017, 3 employees in 2018 and 7 in 2019. Vega

states on its website and has stated for years that the website is “currently in

development”.

      36.




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      37.      Defendant Vega describes the individual trading defendants, whose

names are alleged below, as                                               However, the

relationship between and among Vega,                   and the Vega Trading Defendants is

alleged in detail at ¶¶209-261 below.

      38.      Defendant                       is a natural person residing in the UK.

Defendant                         is Defendant Vega’s sole shareholder, sole owner and

sole director. Prior to Vega’s de-registration with the FCA on August 13, 2019,
            Individual A
Defendant                  was registered with the FCA to provide financial services to the
                                                                                         Individual A
public as an appointed representative of both Starmark and Vega. Defendant

is still registered with the FCA as a representative of Starmark. The Vega Trading

Defendants are Defendants Trader 1                    Trader 2         Trader 5
Trader 9 Trader 4                       Trader 3            Trader 10 Trader 11
Trader 12                    Trader 6           Trader 7         Trader 8



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      39.    Defendant Trader 1        is a natural person residing

                  Trader 1       is registered with the FCA to provide financial

services to the public as an appointed representative of Starmark. Defendant

Trader 1 maintained an account with Defendant Vega. Defendant Trader 1




      40.               Trader 1


Trader 1

      41.    Defendant Trader 1        coordinated and worked with the other

Vega Trading Defendants to depress the prices of the May Contract on April 20.

      (a) Defendant Trader 1         minute to minute pattern in his May Contract

short position on April 20 is almost identical to and holds an extremely high

correlation with the patterns in which Defendants Trader 6 Trader 4 Trader 5

Trader 3 added to their May Contract short positions on April 20. See ¶¶45, 47,

49, 51 (identifying Defendants Trader 6 Trader 4 Trader 5 Trader 3) and

¶143 (alleging the correlations). Such high correlations with one trader, much less

many traders, have an extremely low likelihood of occurring by chance or from

randomly independent trading decisions.



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      (b) Defendant Trader 1          exploited the TAS device to place selling

pressure in the May Contract to net sell a total of     May Contracts and avoid

placing offsetting purchase pressure in the May Contract by purchasing          TAS

contracts on April 20.

      (c) Defendant Trader 1         sold a large portion of his May Contracts in an

aggressive manner and used his May Contracts as “ammo” during April 20,

including during the last hour of trading.

      42.    Defendant Trader 2                                     Trader 1
and also maintained an account with Defendant Vega. Defendant Trader 2

resides at, and traded on April 20, 2020



            Defendant Trader 2             also maintained an account with Vega, is

also registered with the FCA as an authorized representative of Starmark, and also

is a member of

      43.    Defendant Trader 2               worked with other Vega Defendants to

depress the prices of the May Contract on April 20. Among other things,

Defendant Trader 2            communicated with other Vega Defendants about the

May Contract put selling pressure into the May Contract on April 20 by net selling

    May Contracts, and avoided putting offsetting buying pressure into the May

Contract by net purchasing       TAS contracts. Defendant Trader 2               sold a
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large portion of his May Contracts in an aggressive manner and used his May

Contracts as “ammo” during April 20, including during the last hour of trading.

See ¶¶ 111, 164 below.

      44.    Defendant Trader 6                   is the son of a friend of Defendant

Trader 1        Defendant Trader 6 is a natural person residing



                         Defendant Trader 6 also maintained an account with Vega,

is also registered with the FCA as an authorized representative of Starmark, and

also is a member of Defendant Trader 1           trading team.

      45.    (a) Defendant Trader 6              minute to the minute pattern of

adding to his May Contract short position on April 20 is almost identical to and

holds an extremely high correlation with the patterns in which Defendants

Trader 1 Trader 4 Trader 5 Trader 3 added to their May Contract short

positions on April 20. See ¶143 (identifying Defendants Trader 1          Trader 4
Trader 5 Trader 3 and ¶143 (alleging the .919 correlation to Defendant

Trader 1 trades). Such high correlations with one trader, much less many traders,

have an extremely low likelihood of occurring by chance or from randomly

independent trading decisions.

      (b) Defendant Trader 6 exploited the TAS device to place selling pressure in

the May Contract to net sell a total of        May Contracts and avoid placing

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offsetting purchase pressure in the May Contract by net purchasing         TAS

contracts on April 20.

      (c) Defendant Trader 6 sold a large portion of his May Contracts in an

aggressive manner and used his May Contracts as “ammo” during April 20,

including during the last hour of trading.

      46.     Defendant Trader 5

                                                               Trader 3
                                                                 Defendant

Trader 5 has been a director of an entity called                            along

with Defendant Trader 1 and Defendant Trader 4 Additionally, Defendant

Trader 5 co-owned a firm called                              with Defendant

Trader 1 Defendant Trader 5 is a natural person residing



            Defendant Trader 5 also maintained an account with Vega, is also

registered with the FCA as an authorized representative of Starmark, and also is a

member of Defendant Trader 1           trading team.

      47.     (a) Defendant Trader 5 minute to the minute pattern of adding to

his May Contract short position on April 20 is almost identical to and holds an

extremely high correlation with the patterns in which Defendants Trader 1

Trader 4 Trader 6 Trader 3 added to their May Contract short positions on
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April 20. See ¶142 (identifying Defendants Trader 1              Trader 4 Trader 6

Trader 3 and ¶143 (alleging the .974 correlation to Defendant Trader 1 trades).
Such high correlations with one trader, much less many traders, have an extremely

low likelihood of occurring by chance or from randomly independent trading

decisions.

      (b) Defendant Trader 5 exploited the TAS device to place selling pressure

in the May Contract to sell a total of            May Contracts and avoid placing

offsetting purchase pressure in the May Contract by purchasing              TAS

contracts on April 20.

      (c) Defendant Trader 5 sold a large portion of his May Contracts in an

aggressive manner and used his May Contracts as “ammo” during April 20,

including during the last hour of trading.

      48.       Defendant Trader 4                           has been a director of an

entity called                            along with Defendant Trader 1 and

Defendant Trader 5 Defendant Trader 4 is a natural person residing



                                                          Defendant Trader 4 also

maintained an account with Vega, is also registered with the FCA as an authorized




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representative of Starmark, and also is a member of Defendant Trader 1

trading team.

      49.    (a) Defendant Trader 4 minute to the minute pattern of adding to

his May Contract short position on April 20 is almost identical to and holds an

extremely high correlation with the patterns in which Defendants Trader 1

Trader 5 Trader 6 Trader 3 added to their May Contract short positions on
April 20. See ¶142 (identifying Defendants Trader 1           Trader 5 Trader 6
Trader 3 and ¶143 (alleging the .940 correlation to Defendant Trader 1 trades).
Such high correlations with one trader, much less many traders, have an extremely

low likelihood of occurring by chance or from randomly independent trading

decisions.

      (b) Defendant Trader 4 exploited the TAS device to place selling pressure

in the May Contract to net sell a total of        May Contracts and avoid placing

offsetting purchase pressure in the May Contract by net purchasing           TAS

contracts on April 20.

      (c) Defendant Trader 4 sold a large portion of his May Contracts in an

aggressive manner and used his May Contracts as “ammo” during April 20,

including during the last hour of trading.




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      50.    Defendant Trader 3

                                  Trader 1             Defendant Trader 3 is a

natural person residing at

                                      Defendant Trader 3 also maintained an account

with Vega, is also registered with the FCA as an authorized representative of

Starmark, and also is a member of Defendant Trader 1          trading team.

      51.    (a) Defendant Trader 3 minute to the minute pattern of adding to his

May Contract short position on April 20 is almost identical to and holds an

extremely high correlation with the patterns in which Defendants Trader 1

Trader 4 Trader 6         Trader 5 added to their May Contract short positions on

April 20. See ¶142 (identifying Defendants Trader 1         Trader 4 Trader 6

Trader 5         and ¶143 (alleging the .976 correlation to Defendant Trader 1

trades). Such high correlations with one trader, much less many traders, have an

extremely low likelihood of occurring by chance or randomly independent trading

decisions.

      (b) Defendant Trader 3 exploited the TAS device to place selling pressure in

the May Contract to sell a total of     May Contracts and avoid placing

offsetting purchase pressure in the May Contract by purchasing         TAS

contracts on April 20.



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      (c) Defendant Trader 3 sold a large portion of his May Contracts in an

aggressive manner and used his May Contracts as “ammo” during April 20,

including during the last hour of trading.

      52.    Defendant Trader 9 is a natural person residing



                        Trader 9
            Defendant              also maintained an account with Vega, is also

registered with the FCA as an authorized representative of Starmark, and also is a

member of Defendant Trader 1                 trading team.

      (a) Defendant Trader 9 minute to the minute pattern of adding to his May

Contract short position on April 20 is almost identical to and holds an extremely

high correlation with the patterns in which Defendants Trader 1 Trader 4

Trader 6 Trader 3 Trader 5 added to their May Contract short positions on

April 20. See ¶142 (identifying Defendants Trader 1             Trader 4 Trader 6
Trader 3 Trader 5 and ¶143 (alleging the .946 correlation to Defendant

Trader 1 trades). Such high correlations with one trader, much less many traders,

have an extremely low likelihood of occurring by chance or randomly independent

trading decisions.

                      Trader 9
      (b) Defendant              exploited the TAS device to place selling pressure in the

May Contract by net selling               May Contracts and avoid placing offsetting


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purchase pressure in the May Contract by net purchasing                TAS contracts on

April 20.

                       Trader 9
      (c) Defendant               sold a large portion of his May Contracts in an

aggressive manner and used his May Contracts as “ammo” during April 20,

including during the last hour of trading.

      53.      The five largest Vega traders accounted for 69% of the total Vega

volume, and their minute by minute positions have extremely strong correlations

(between 96.2% and 99.7%) with each other.

            a. Trader 6 sales of May Contracts on April 20 were the largest sales

               of any Vega defendant on April 20. Trader 6 minute by minute

               positions in the May Contract had an extremely strong tendency

               (between .962 and .996) to increase as to the other largest Vega

               Traders on April 20 (Trader 3 Trader 9 Trader 5 Trader 4             ).

            b. Trader 4 sales of May Contracts on April 20 were the second

               largest sales of any Vega defendant on April 20. Trader 4 minute

               by minute positions in the May Contract had an extremely strong

               tendency (between .973 and .996) to increase as to the other largest

               Vega Traders on April 20 (Trader 3 Trader 9 Trader 6 Trader 5              .

            c. Trader 5 sales of May Contracts on April 20 were the third largest

               sales of any Vega defendant on April 20. Trader 5 minute by
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               minute positions in the May Contract had an extremely strong

               tendency (between .977 and .997) to increase as to the other largest

               Vega Traders on April 20 (Trader 3 Trader 9 Trader 6 Trader 4        ).

            d. Trader 3 sales of May Contracts on April 20 were the fifth largest sales

               of any Vega defendant on April 20.           minute by minute

               positions in the May Contract had an extremely strong tendency

               (between .962 and .997) to increase as to the other largest Vega

               Traders on April 20 (Trader 5 Trader 9Trader 6Trader 4             .

            e. Trader 9 sales of May Contracts on April 20 were the fourth largest

               sales of any Vega defendant on April 20. Trader 9 minute by minute

               positions in the May Contract had an extremely strong tendency

               (between .981 and .993) to increase as to the other largest Vega

               Traders on April 20 (Trader 3 Trader 5 Trader 6 Trader 4           ).

      54.      Defendant Trader 12                   is a natural person residing



             Defendant Trader 12 also maintained an account with Vega, is also

registered with the FCA as an authorized representative of Starmark, and also is a

member of Defendant Trader 1            trading team.

      (a) Defendant Trader 12 minute to the minute pattern of adding to his

May Contract short position on April 20 is almost identical to and holds an

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extremely high correlation (.979) with the patterns in which Defendants

Trader 1 Trader 4 Trader 6 Trader 3Trader 9 Trader 5 added to their May

Contract short positions on April 20. See ¶¶ 142-143. Such high correlations with

one trader, much less many traders, have an extremely low likelihood of occurring

by chance or randomly independent trading decisions.

      (b) Defendant Trader 12 exploited the TAS device to place selling pressure

in the May Contract by selling        May Contracts and avoid placing offsetting

purchase pressure in the May Contract by purchasing              TAS contracts on April

20.

      (c) Defendant Trader 12 sold a large portion of his May Contracts in an

aggressive manner and used his May Contracts as “ammo” during April 20,

including during the last hour of trading.

      55.    Defendant Trader 10                                  is a natural person

residing

                                                  Defendant Trader 10 also maintained an

account with Vega, completed compliance oversight training with Starmark to

qualify as and later registered with the FCA as an authorized representative of

Starmark, and also is a member of Defendant Trader 1               trading team.

Defendant Trader 10 worked with other Vega Defendants to depress the prices of the


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May Contract on April 20. Among other things, Defendant Trader 10 communicated

with other Vega Defendants about the May Contract, put selling pressure into the

May Contract on April 20 by net selling          May Contracts, and avoided putting

offsetting buying pressure into the May Contract by purchasing           TAS contracts.

Defendant Trader 10 sold a large portion of his May Contracts in an aggressive

manner and used his May Contracts as “ammo” during April 20, including during

the last hour of trading. See ¶¶139, 145 below.

      56.       Defendant Trader 11               is a natural person residing



              Defendant Trader 11 also maintained an account with Vega, is also

registered with the FCA as an authorized representative of Starmark, and also is a

member of Defendant Trader 1             trading team. Defendant Trader 11 worked with

other Vega Defendants to depress the prices of the May Contract on April 20.

Among other things, Defendant Trader 11 communicated with other Vega Defendants

about the May Contract, put selling pressure into the May Contract on April 20 by

net selling      May Contracts, and avoided putting offsetting buying pressure into

the May Contract by purchasing         TAS contracts. Defendant Trader 11 sold a large

portion of his May Contracts in an aggressive manner and used his May Contracts

as “ammo” during April 20, including during the last hour of trading. See ¶¶139,

145 below.


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      57.     Defendant Trader 7         is a natural person residing



            Defendant Trader 7 also maintained an account with Vega, completed

compliance oversight training with Starmark to qualify as an authorized

representative of Starmark, and also is a member of Defendant Trader 1

trading team. Defendant Trader 7 worked with other Vega Defendants to depress the

prices of the May Contract on April 20. Among other things, Defendant Trader 7

communicated with other Vega Defendants about the May Contract, put selling

pressure into the May Contract on April 20 by net selling      May Contracts, and

avoided putting offsetting buying pressure into the May Contract by purchasing

    TAS contracts. Defendant Trader 7 sold a large portion of his May Contracts in

an aggressive manner and used his May Contracts as “ammo” during April 20,

including during the last hour of trading. See ¶¶139, 145 below.

      58.     Defendant Trader 8                 is a natural person residing



            Defendant Trader 8 also maintained an account with Vega, is also

registered with the FCA as an authorized representative of Starmark, and also is a

member of Defendant Trader 1           trading team. Defendant Trader 8 worked

with other Vega Defendants to depress the prices of the May Contract on April 20.

Among other things, Defendant Trader 8 communicated with other Vega


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Defendants about the May Contract, put selling pressure into the May Contract on

April 20 by net selling           May Contract, and avoided putting offsetting buying

pressure into the May Contract by purchasing             TAS contract. Defendant Trader 8

sold a large portion of his May Contracts in an aggressive manner and used his

May Contracts as “ammo” during April 20, including during the last hour of

trading. See ¶¶139, 145 below. Defendant Trader 8 made               price moving trades

for Defendant Trader 11 between 13:31:21 and 13:31:24. These trades were

transferred to Defendant Trader 11 after Defendant Trader 8 made them.

      59.      Starmark Investment Management Limited is a private limited

company organized and existing under the laws of the United Kingdom, formed on

June 3, 1998, and having a registered office and principal place of business in

London, England. Starmark has a supervisory role over Defendant Vega Capital

that initiated with the latter’s FCA registration as an Appointed Representative of

Starmark, its Principal, from October 26, 2017 through August 13, 2019, the day

Vega Capital’s FCA registration terminated. Vega has a supervisory role of
            Individual A
Defendant                  who is a representative of Starmark.

      60.      Eldon John Kerr, Starmark’s co-founder, “currently focuses on

monitoring Appointed Representative and CF30 trading activity,” according to

Starmark’s website. As such, Mr. Kerr would have supervised Vega Capital in its

role as Starmark’s Appointed Representative until August 13, 2019. Despite the


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termination of Vega Capital’s FCA registration as an Appointed Representative of

Starmark on such date, Mr. Kerr’s inclusion by GH Financials on April 21, 2020

correspondence with Vega Capital regarding the previous day's trading
                                                                          Individual A
irregularities suggests that Starmark’s supervisory role over Defendant                  or

Defendant Vega’s trading activities persists.

      61.    In addition to its supervisory role over Defendant Vega, Starmark also

directly supervises Defendants Trader 8           Trader 1        Trader 5
Trader 9 Trader 4              Trader 3              Individual A Trader 11

Trader 12            Trader 6                 all of whom are registered with the

FCA as Starmark representatives.

      62.    (a) Vega John Doe #1. Unknown Vega Defendant is one of the Vega

accounts. This Defendant financially benefited from the manipulation of the May

Contract by Defendant Vega and the Vega Trading Defendants.

      (b) Vega John Doe #2. Unknown Vega Defendant is one of the Vega

accounts. This Defendant financially benefited from the manipulation of the May

Contract by Defendant Vega and the Vega Trading Defendants.

      (c) Vega John Doe #3. Unknown Vega Defendant is one of the Vega

accounts. This Defendant financially benefited from the manipulation of the May

Contract by Defendant Vega and the Vega Trading Defendants.




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      (d) Vega John Doe #4. Unknown Vega Defendant is one of the Vega

accounts. This Defendant financially benefited from the manipulation of the May

Contract by Defendant Vega and the Vega Trading Defendants.

      63.     John Doe Defendants 20-100 are persons or entities who worked with

Defendants or on whose behalf Defendant Vega Capital worked to manipulate and

fix prices of NYMEX crude oil futures contracts.

      64.     G.H. Financials, LLC (“GHF LLC” or “GHF”) has been a Delaware

corporation since May 31, 2011. GHF became operational as a clearing Futures

Commission Merchant the same year. An FCM is a futures broker. As such, it

solicits or accepts orders to buy or sell futures contracts, and accepts money or

other assets from customers to support such orders. GHF was Defendant Vega’s

broker until shortly after April 20, 2020 and made, as Vega’s agent the sales on the

May Contract.

      65.     GHF LLC is regulated by the Chicago Mercantile Exchange (“CME”)

which is a Delegated Self-Regulatory Organization (“DSRO”) on behalf of the

CFTC.

      66.     GHF LLC is located at 311 South Wacker Drive, Suite 1550, Chicago,

Illinois 60606, and is a member of the National Futures Association

(“NFA”). GHF LLC also holds memberships on the CME, NYMEX and ICE

Futures US.


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        67.     GHF acted as the FCM.




                    On April 20, Vega was the customer of GHF which made all the

manipulative trades alleged herein. GHF was the FCM and exchange member

which made all those trades. The accounts held by the Vega Trading Defendants

were sub accounts of the Vega accounts under the              designation with

different sub accounts.

        68.     G.H. Financials Limited is a Private limited Company incorporated on

January 4, 1993 and registered at Companies House as No. 02775278, with the

nature of its business defined as security and commodity contract dealing activities

(SIC 66120) and its registered office located at 29 Ludgate Hill, 4th Floor, London

ECAM 7JR (“GHF Ltd”). See: https://find-and-update.company-

information.service.gov.uk/company/02775278

                                   BACKGROUND

   A.         Commodity Futures; How Futures Contract Trading Profits Or
              Losses Are Determined Using The May Contract As An Example.

        69.     A person may act as a futures contract exchange or board of trade

only if that person is approved and designated to do so by the Commodity Futures


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Trading Commission. The CFTC approves such a designation only if the proposed

exchange sufficiently demonstrates (a) that it has rules, such as position limit rules,

to prevent price manipulation, and (b) that it has procedures to enforce such anti-

manipulation rules.

      70.    The NYMEX is designated by the CFTC as a board of trade.

NYMEX is the world’s largest physical commodity futures exchange. The

NYMEX applies to the CFTC for permission to trade each commodity in which the

NYMEX offers a contract. The NYMEX must establish, among other things, that

the proposed contract is not prone to price manipulation in order to win approval to

trade such contract. NYMEX members and clearing members have to follow the

rules of the NYMEX. This includes the most important rules, the rules prohibiting

manipulation.

      71.    Also, commodity futures professionals licensed as associated persons,

futures commissions merchants, commodity trading advisors, and commodity pool

operators are required to be familiar with CFTC and exchange requirements. This

includes the most important requirements, those prohibiting price manipulation.

      72.    A commodity futures contract is an agreement to buy or sell a

commodity, such as WTI, at a date in the future. Futures contracts are bilateral

contracts with two sides. The “long” side is the buyer of the contract. The buyer is

obligated to take delivery and pay for the commodity if the buyer holds the


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contract until the specified delivery dates. Buyers are referred to as “longs.” The

“short” side of the futures contract is the seller of the contract. The seller is

obligated to make delivery of the commodity on the delivery dates. Sellers are

referred to as “shorts.”

      73.    Almost every aspect of a futures contract is standardized, except the

price and quantity. Futures markets are specifically designed to facilitate and ease

trading in one central marketplace for traders who are located throughout the

United States and the world.

      74.    In practice, very few deliveries occur and most futures contracts are

satisfied or “liquidated” in the trading market. For example, significantly less than

1% of all WTI futures contracts traded result in deliveries. Well over 99% of the

WTI futures contracts which are traded are satisfied through liquidation trading.

      75.    In order to satisfy a futures contract through trading in the futures

market, a trader who holds a long position of one contract sells one contract. That

creates one long position and one short position in such futures contract for the

trader. These offsetting positions cancel out or liquidate the trader’s obligations to

purchase a commodity and make delivery of a commodity under the contracts.

Likewise, a trader who holds a short position of one contract buys one contract in

order to trade out of the position. This, again, creates one long position and one

short position for such trader. And this, again, cancels and liquidates the trader’s


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original obligation to deliver the commodity by creating a separate obligation to

purchase the commodity.

      76.       The difference between the price at which a trader buys the contract

and the price at which the trader sells the contract establishes the profit or loss on

the contract.

      77.       For example, suppose a trader sold one May Contract to establish a

short position. Suppose the trader purchased back such May Contract later on the

same day. Suppose that the sales price was $2.50 per barrel. Suppose that the

purchase price was minus $37.50 per barrel. In this example, the profit (exclusive

of trading commissions) would be $40.00 per barrel. Each May Contract consists

of 1,000 barrels of WTI crude oil. The profit on that one contract (exclusive of

commissions) would be $40,000.00.

      78.       Open interest is defined as the total number of futures contracts in a

delivery month or market that has been entered into and not yet offset or cancelled.

Each open transaction has a buyer (a long) and a seller (a short). The open interest

in commodity futures contracts tends to fluctuate from day to day. The open

interest and trading volumes in a futures contract begin to decrease very

substantially during the last month of trading in a futures contract. As such contract

approaches its final expiration date and all trading must cease, the last few days of

trading the volume and open interest continue to their lowest levels.


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   B.         The WTI Contract

        79.     One of the futures contracts traded on the CME is the light sweet

crude oil (WTI) futures contract. The size of a WTI crude oil futures contract is

1,000 barrels. The WTI crude oil futures contracts call for settlement by physical

delivery at a variety of pipelines or storage facilities in or around Cushing,

Oklahoma.

        80.     Pursuant to NYMEX and CME rules, trading is conducted in WTI

futures contracts expiring in each calendar month from the current month and

continuing for the next ten calendar years plus two additional contract months.

Trading in WTI crude oil futures contracts terminates on the third business day

prior to the twenty-fifth calendar day of the month preceding the delivery month.

If the twenty-fifth calendar day is not a business day, trading terminates four

business days prior to the twenty-fifth calendar day of the month prior to the

contract month.

        81.     Daily settlement prices of WTI crude oil futures are settled at the

volume-weighted average price (“VWAP”) of trades occurring on CME Globex

between 1:28 and 1:30 p.m. Midwest time. The settlement price for the active

month contract is determined by trades in the active month and trades in other

contract expirations are determined by calendar spread transactions.




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       82.   Trading in WTI crude oil futures contracts is subject to the rules and

regulations of the NYMEX and CME, and prices are quoted in U.S. dollars and

cents per barrel.

       83.   The crude oil marketing hub in Cushing, Oklahoma is the most

significant marketing and trading hub for crude oil in North America. Cushing

serves as the delivery point for light sweet crude oil futures contracts traded on the

CME.

       84.   WTI crude oil is one of the most actively traded domestic crude oils,

operates as the United States benchmark grade and is the primary deliverable grade

under the WTI crude oil futures contracts.

       85.   Like other commodity futures contracts which call for physical

delivery, the open interest (see ¶79) and the daily trading volume in a WTI futures

contract tend to decline dramatically as the last days of trading and the beginning

of deliveries approach.

       86.   In Trading at Settlement (or “TAS”) for WTI contracts, a market

participant agrees to purchase or sell a WTI futures contract at a price that is to be

determined by the end of day settlement price of a particular WTI futures contract.

       87.   Trade at Settlement is a capability that allows a commodities trader to

execute an order to buy or sell an eligible futures contract at the settlement price or

at a spread to the settlement price. The spread may be at a price up to a specified


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number of ticks (minimum price fluctuations) above or below the settlement price

for that particular type of commodity contract. See e.g.,

www.theice.com/publicdocs/futures us/TAS FAQ.pdf

      88.       Similarly, traders who buy TAS contacts as they sell May Contracts

have a motive to depress prices in order to make the prices approaching and at the

end of the day as low as possible. Again, the cost band for TAS contracts is from

minus ten cents to plus ten cents on the outright contracts, and minus twenty cents

to plus twenty cents on the spreads. The NYMEX Rulebook provides: “Unless

otherwise specified by the Exchange, a TAS transaction may be executed at the

current day’s settlement price or at any valid price increment ten ticks higher or

lower than the settlement price.” Chapter 5, Section 524.A.3 (TAS Transactions),

available at:

https://www.cmegroup.com/content/dam/cmegroup/rulebook/NYMEX/1/5.pdf

      89.       There are separate bids and offers for TAS contracts than for WTI

contracts. TAS contracts are bought and sold at a price differential from the daily

settlement price, so the final price of the TAS contract is the settlement plus or

minus a premium or discount. The allowable price increments and differential are

defined by NYMEX. See Interim Staff Report; Trading in NYMEX WTI Crude Oil

Futures Contract Leading up to, on, and around April 20, 2020 (CFTC Nov. 23,



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2020). In the TAS contract market, the price may range ten ticks higher or lower

than the settlement price. NYMEX Rule 524.

        90.     TAS contracts may serve valuable functions in physical delivery

markets, including by allowing institutions and others to pay a small sum in order

to lock in a trade at the settlement price determined between 1:28 and 1:30 pm

Chicago time for a given WTI contract. However, even in well-designed and well-

regulated futures contracts such as the WTI futures contract, the use of TAS

contracts is subject to abuse when certain constraints exist in the market. See

¶¶107-112 below.

        91.     As recently stated by CFTC Commissioner Dan Berkovitz on

November 24, 2020: “The potential for TAS trading to artificially affect the

settlement price of a contract is well known; indeed, the CFTC has brought two

enforcement cases based on the use of TAS to manipulate the price of futures

contracts.” See

https://www.cftc.gov/PressRoom/SpeechesTestimony/berkovitzstatement112320a.

Commissioner Berkovitz also expressed his view that the CFTC should look into

the TAS trading activity in its investigation of the precipitous drop and rebound of

WTI oil trading prices on April 20-21.

   C.         Buying Pressure, Selling Pressure, Cumulative Net Sales And
              Cumulative Selling Pressure



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      92.    All else equal, sales of futures contracts exert downward pressure on

prices, and the larger the number of sales, the greater the downward pressure on

prices. All else equal, purchases of futures contracts exert upward pressure on

prices, and the greater the number of purchases, the greater the upward pressure on

prices.

      93.    All else equal, the more that a market participant (or a group of

market participants) sells a commodity futures contract and the less that they say a

commodity futures contract during a trade day, the more cumulative net sales they

will make and downward pressure on prices that they exert.

      94.    All other things equal, buying pressure in a commodity futures

contract will tend to make prices higher than they otherwise would have been.

Selling pressure in a commodity futures contract will tend to make prices lower

than they otherwise would have been.

      95.    Bids are orders to buy a futures contract. Offers are orders to sell a

futures contract. When the highest bid equals or exceeds the lowest offer, an

agreement to purchase and sell a futures contract is made. Because the prices in the

futures market are determined by the lowest offer and the highest bid, the futures

markets are sometimes referred to as a dual auction market. After the match

creating an execution, the bid and offer are removed from the order book to the

extent of the match. The remaining bids and offers determine the prices.


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         96.     Orders to purchase or sell may be submitted in two general types. One

is a “limit” order, which is an order to sell or buy at a price limit. A bid for $10 per

barrel or better, is a bid to buy at a maximum of $10 and less than $10 if possible.

An offer to sell at $10 per barrel is an offer to sell at $10 per barrel or higher, but

not less than $10 per barrel.

         97.     A market order is an order to buy at or above the available offer, or to

sell at or below the available bid in the market. Limit orders which seek to buy at

or above the lowest offer or sell at or below the highest bid are, in effect, market

orders to that extent.4 A market order to sell 10 contracts is an offer to sell 10

contracts at whatever the bid is in the market. If there are three contracts bid at $10

per barrel, three contracts bid at $9.95 per barrel, three contracts bid at $9.90 per

barrel, and one contract bid at $9.85 per barrel, the 10 contract market offer will,

all other things equal, remove all of those from the order book and execute with the

last price of $9.85 per barrel. The bid after that transaction will be whatever the

highest bid is below $9.85 per barrel.

         98.     All other things equal, market order sells exert downward pressure on

prices and market order buys exert upward pressure on prices.

         99.     Making offers to sell below the highest bid in a volume greater than

the highest bid causes prices to decline and “sells through the market”. This


4
    These are sometimes referred to as “marketable limit orders”.
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removes from the order book the bids at the higher level. This is a sufficient, but

not necessary condition to cause prices to decline.

      100. This can also execute the next bids and, depending on the size of the

marketable offers and the size of the bids, take them out of the order book. If a

trader adds marginal (i.e., extra) offers to a market which exceed the bids in the

market at a given price, then the trader or traders will cause prices to move down.

      101. If a trader is able to add marginal offers at a given price that cause the

total offers to exceed the total bids, then there will be downward pressure on prices

and prices will move down. This is a significant but not a necessary condition to

depress prices.

The United States Commodity Futures Trading Commission And The United
Kingdom Financial Control Authority Have Recognized That The Use By
Traders Of Their Trades As “Ammo” Constitutes A Manipulative Device

      102. Regulators recognize that “ammo” is a term used by manipulators.

Although the exact meaning of “ammo” varies in the context of the specific

manipulation, the use of the term “ammo” signifies possession of the ability to

make a quantity of transactions in a manner in which the transactions will depress

or inflate futures contract prices.




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         103. The FCA has previously explained that the use of the word “ammo”

was part of a manipulative strategy to influence prices.5

         104. The United States Commodity Futures Trading Commission also

recognized the use of the term “ammo” as being part of a manipulative device in

the consent order in ISDAFix. There, the CFTC stated that “…traders would use

limited "ammo" and timing techniques to attempt to manipulate…”.

https://www.cftc.gov/sites/default/files/idc/groups/public/@lrenforcementactions/d

ocuments/legalpleading/enfroyalorder020317.pdf

         105. The CFTC, in providing “Examples of Misconduct in Private Chat

Rooms”6, discusses the use of the word “ammo”. In an example under the

heading, “Traders Share ‘Ammo’”, the CFTC quotes a conversation where traders

at different banks discuss “more ammo for you….”

                           UNDERLYING ALLEGATIONS

         A. The Abuse Of TAS Transactions To Manipulate Prices

5
  https://fca-
legacy.videomarketingplatform.co/secret//62508029/a45a0407be96952c359daa5be8158bcc
(video presentation showing multiple firms using the phrase “leaving you with the ammo” as part
of the collusive conversation in an attempt to fix and move rates); see also FCA Final Notice
against UBS, https://www.fca.org.uk/publication/final-notices/final-notice-ubs.pdf.
https://www.ft.com/content/47c32ec4-6a34-11e4-8fca-00144feabdc0 (“Furthermore, traders in a
chatroom with net orders in the opposite direction to the desired movement at the fix sought to
transact before the fix with traders outside the chatroom. The FCA said this practice was
commonly referred to as “leaving you with the ammo”, building the volume of orders held by the
traders in the chatroom in the desired direction and increasing their potential influence on the
fix.”)
6

https://www.cftc.gov/sites/default/files/idc/groups/public/@newsroom/documents/file/hsbcmisco
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      106. The use of TAS contracts may cause a fragmentation of order flow.

Part of the order flow to purchase and sell, in this case, May Contracts, goes into

the bids and asks for May Contracts. A different part of the order flow to purchase

and sell May Contracts may be put into the TAS market.

      107. Peer reviewed economic literature shows that this “fragmentation” of

order flow into two different markets tends to (a) cause individual orders for the

futures contract (here the May Contract) to have somewhat greater price impact;

and that the purchase order in the TAS market does not exert buying pressure

which offsets or equals the selling pressure in the futures contract, here the May

Contract. Craig Pirrong, The Economics Of Commodity Market Manipulation: A

Survey, Journal of Commodity Markets, Vol. 5, pp. 1-17, (March 2017).

      108. Thus, persons who purchased TAS contracts prior to or as they sell

May Contracts during April 20, create for themselves an increasingly large

financial interest in lower settlement prices for the May Contract. After their May

Contract sales and TAS purchases go beyond an insignificant amount, certain types

of traders have an increasingly large motive to make large net sales of the May

Contract in order to exert downward pressure on the settlement price and create a

profit for themselves.

      109. Similarly, this type of manipulative trader, also has a large financial

motive to recruit an increasingly large group of traders to follow the same modus
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operandi of selling the futures contract and buying the TAS contract. Combined,

this group can exert cumulative net selling pressure on the (in this instance) May

Contract as the day progresses.

      110. Then, as the end of trading approaches (in the last hour or half hour of

trading), this type of trader has a motivation to ramp up their own sales to a large

percentage of the market and exert further causation of depression through

blatantly using their sales as “ammo” to depress prices.

      111. By doing the foregoing and also combining with other traders, this

type of trader can bring its maximum pressure to bear on prices at the end of

trading. Specifically, as the trading group’s net cumulative sales of the futures

contract are reaching their highest levels and reaching the most cumulative

downward effect on prices (by removing the largest cumulative amounts of bids

from the order book), the trading group also increases its percentage of sales in the

market and does so in an aggressive manner that converts that significant

percentage of the share of the sales in the market into the manipulative device of

“ammo”. Both the large percentage of sales and the greater impact per sale of

making the sale as “ammo” (i.e., very aggressively to intentionally move down

prices) exert separate and further downward impacts on prices.

      112. The foregoing profile is exactly what the Vega Trading Defendants

did in the May Contract.


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   B. Defendant Trader 1 background and formation of a group that could
      execute a TAS manipulation.

      113.              Trader 1


                   Trader 1



      114. Traders on the IPE reportedly combined together to make transactions

in opposition directions in the futures contract and related TAS contract. For

example, they would purchase the TAS contract and sell the futures contracts. By

engaging in increasing selling as the day wore on, the IPE traders could cause the

TAS contract prices to be lower. By depressing the TAS price, they IPE futures

traders could make a profit on the difference between their higher priced sales

earlier in the day and their lower prices at which they purchased at the end of the

day by virtue of the lower settlement they caused and which, through the TAS

mechanism, became their purchase price.

      115. After the closing of the IPE, former floor traders banded together at

“arcades” or “prop” (proprietary trading) shops with five of these groups, known as

the “five families” based in London. One advantage of having these groups is that

they could exploit the TAS mechanism exactly by trading in a group.

      116. Reportedly, Defendant Trader 1 and other traders worked for one of

the “five families” –                            – for a long time.
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      117. However, Defendant Trader 1 then reportedly started his own group

which consists at least of the other Vega Trading Defendants.

      118. Reportedly, the Vega Defendants frequently make trades in the same

contracts at around the same time to move prices.

      119.




      120.                                            Individual A
Trader 1


      121.



                                                                        That is, the

Vega Trading Defendants commit their trading capital to fund one another’s risks,

which is similar to a joint venture in which the co-venturers commit their trading

capital to help any member of the combine.




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         122.



                                                   Trader 12          Trader 11




                                    Trader 1




         123.

Trader 1                                                                       Trader 12

Trader 11

         124. Also, Vega has a financial motive to see that Trader 12 Trader 11

are in a position to try to make lots of profits; however, provided that the pool of

capital is sufficient from the Vega Traders, Vega has no downside. I.e., the more

risk that Trader 12 Trader 11 take, the more that Vega stands to gain.

         125.             Trader 1




7
  VEGA_M1SH_000042676
8
  VEGA_M1SH_000042676
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  See https://find-and-update.company-information.service.gov.uk/company/07158619
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      126. Thus, Defendant Trader 1 speaks on behalf of all the other

Defendants. In such position, Defendant Trader 1 not only knows the reasons

behind what each trader was doing, but that the reasons were the exact same.

      127. When people act for exactly the same reasons, they are more likely to

be in an agreement, especially if an agreement to combine together makes them

more likely to achieve their goals and make their reasons work out. This is even

more true when the reasons are a market power manipulation in which the traders

are combining their cumulative net sales of the May Contract and separate

purchases of TAS contracts to have the largest financial motive to manipulate and

the largest ability to manipulatively depress May Contract prices at the close of

trading on April 20. Finally, what they were doing on April 20 is exactly parallel to

a TAS manipulation (described in ¶¶87-92, 107-113 above) and the type of TAS

manipulations that occurred on the IPE (described in ¶¶114-116 above). It is also a

type of manipulation which “families” of traders are well positioned to engage. See

¶¶116-117 above. Reportedly, Trader 1 and other traders at Vega vacation

together, socialize together, and drink together.

          C. The Vega Defendants Manipulative Depression of May Contract
             Prices

      128. On April 20th, the Vega Defendants believed that the May Contract

was in its next to last day of trading and was a “thin” market in which there was

not great depth of trading and orders to purchase. The Vega Defendants believed

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that the May Contract was vulnerable to price depression by a concerted group of

traders pursuing the following method. The traders would exert an increasing

cumulative net selling pressure on the May Contract. As that cumulative net selling

pressure reached high levels, the Vega Defendants would use their sales as

manipulative “ammo”. See above. The use of the “ammo” would both depress

prices directly, and also increase Vega’s rate of sales and the percentage of the

total volume of May Contract sales that the Vega Defendants’ sales constituted.

This combination of increasing cumulative net selling pressure (which had been

removing purchase orders from the market), the use of manipulative “ammo” sales,

and the large increases in Vega’s percentage of the overall volume of sales in the

market would manipulatively depress May Contract prices during April 20th

including at the time of the determination of the TAS. Thereby, the Vega

Defendants would reap substantial profits from the higher prices at which they

made their May Contract sales and the lower prices at which they would purchase

as determined by the artificially depressed settlement price.

      129. As with all manipulations, there were risks to the manipulators of the

success of their manipulation. But the Vega Defendants reportedly had prior

experience with trading together at the same times to move prices. And they

successfully executed their manipulative depression of May Contract prices.




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      130. On April 20th, the May Contract price was approximately $11.69 per

barrel at 9:00 a.m. in Chicago. From at or about 9:00 am on April 20th until at or

about 11 am, the May Contract price declined from $11.69 to $10.33. During this

time, the Vega Defendants placed increasing cumulative net selling pressure on the

May Contract price. This caused the May Contract prices to be lower than they

otherwise would have been.

      131. Similarly, during the next time periods of the day (alleged below) the

Vega trading Defendants continued to increase their cumulative net selling

pressure on the May Contract price. During each of these periods, the Vega

Trading Defendants placed increasing cumulative net selling pressure on the May

Contract and caused the May Contract prices to be lower than they otherwise

would have been.

      132. A manipulator seeks to sell at a high price and buy at a low price. The

Vega Defendants followed this pattern. They exerted less pressure on May

Contract prices until their cumulative net selling pressure had built up a substantial

short position in the May Contract and a substantial TAS position to liquidate

(purchase back) that short position at whatever that May Contract price turned out

to be at the end of trading.




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      133.




      134. During this time period, the Vega Defendants

           a. Substantially increased their number of May Contracts sold per

              minute.

           b. Substantially increased their percentage of the total sales of May

              Contracts made by the entire market.

           c. Exerted greater depressive impact on prices, per each new May

              Contract sold, by selling in a manipulative “ammo” fashion.

      135. During the Vega Defendants’ final frenzy of manipulative ammo

selling, they caused and help cause the May Contract to move into negative prices

for the first time in history, and to experience the vast majority of its all-time

record price decline on April 20th during a brief 20 minute period between 1:08 and

1:28 pm.

      136. Specifically, due to the combination of all Vega’s foregoing steps, the

May Contract declined from minus one penny per barrel to as low as minus 42

dollars per barrel.


      D. The Vega Trading Defendants Combined, Conspired and Worked In
         Concert For The Purpose of Depressing the Price of the May 2020
         WTI Crude Oil Futures Contract on April 20, 2020

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      140. Despite representing to the CME that the Vega Trading Defendants

acted “independently” on April 20, 2020 (see ¶¶ 37, 126), the five Vega Trading

Defendants with the highest volume of May Contract sales (approximately 69% of

Vega’s total sales)—Defendants Trader 6 Trader 4 Trader 5 Trader 9

Trader 3sold May Contracts in virtual lockstep as reflected in the below chart.

Based upon information and belief, Plaintiff alleges that the Vega Trading

Defendants entered trades manually, and not by computer program.




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      142. Further, each of the above Defendants additions to its positions was

highly correlated with those of Defendant Trader 1




      143. In order to depress the price of the May 2020 NYMEX WTI crude oil

futures contract (and thereby reap large profits by purchasing via TAS May

Contracts at an extremely low price), the Vega Trading Defendants combined and

conspired to sell large volumes of May Contracts in the final hours before the

settlement price of the May Contract was to be determined at approximately 1:30

p.m. CST on April 20. See below.

      144. As detailed below, the Vega Trading Defendants’ large sales of the

May Contract constituted an increasingly larger share of the total trading volume

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of the May Contract (growing to more than 30% of the total volume during the last

approximately 22 minutes of trading) at the same times that the prices of the May

Contract were increasing their rate of decline. Specifically:

         a. During the time period 9:00 a.m. CST until 11:00 a.m. CST on April
            20, 2020, the Vega Trading Defendants sold approximately
            May Contracts, which constituted approximately 6.7% of the total
            volume in the May Contract during the same time period. During this
            time period, the Vega Trading Defendants sold, on average,     May
            Contracts per minute. The price of the May Contract decreased by
            approximately $1.36 per barrel from 9:00 a.m. CST (approximately
            $11.69 per barrel) to 11:00 a.m. CST ($10.33 per barrel).




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        b. During the time period 11:00 a.m. CST until noon CST on April 20,
           2020, the Vega Trading Defendants sold approximately         May
           Contracts, which constituted approximately 16.4% of the total volume
           in the May Contract during the same time period. During this time
           period, the Vega Trading Defendants sold, on average,     May
           Contracts per minute. The price of the May Contract decreased by
           approximately $5.41 per barrel from 11:00 a.m. CST (approximately
           $10.33 per barrel) to noon CST ($4.92 per barrel).




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        c. During the last 1.5 hours of trading (noon CST until 1:30 p.m. CST),
           the Vega Trading Defendants sold approximately          May
           Contracts, which constituted approximately 23.6% of the total volume
           in the May Contract during the same time period. During this time
           period, the Vega Trading Defendants sold, on average,        May
           Contracts per minute. The price of the May Contract decreased by
           approximately $42.55 per barrel from noon CST (approximately $4.92




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        d. During the last half hour of trading (1:00 p.m. CST to 1:30 p.m. CST),
           the Vega Trading Defendants sold approximately           May
           Contracts, which constituted approximately 29.2% of the total volume
           in the May Contract during the same time period. During this time

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           period, the Vega Trading Defendants sold, on average,        May
           Contracts per minute. The price of the May Contract decreased by
           approximately $38.29 per barrel from 1:00 p.m. CST (approximately
           $0.66 per barrel) to 1:30 p.m. CST (negative $37.63 per barrel). The
           average price decline of the May Contract during this time period was
           approximately $1.28 a barrel per minute.




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        e. During the last approximately 22 minutes of trading (i.e., from the
           time when the first May Contract traded at a negative price
           (approximately 1:08:23 p.m. CST) until the 1:30 p.m. CST,) the Vega
           Trading Defendants sold approximately         May Contracts, which
           constituted approximately 30.5% of the total volume in the May
           Contract during the same time period. During this time period, the
           Vega Trading Defendants sold, on average,         May Contracts per
           minute. The price of the May Contract decreased by approximately
           $37.62 per barrel from approximately 1:08:23 CST (approximately
           negative $0.01 per barrel) to 1:30 p.m. CST (negative $37.63 per
           barrel). The average price decline of the May Contract during this
           time period was approximately $1.71 a barrel per minute.




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      E. Net Cumulative Aggressive Sales Pressure.

      145. Though not a necessary condition for manipulation, a sufficient

condition for manipulation the creation of significant net aggressive selling

pressure on a futures contract.

      146. The CME provides an aggressor indicator in its market depth data for

individual trades. The CME states

             “An aggressor is defined as any customer order that
             triggers a trade immediately upon entering the book.
             Tag 5797-AggressorSide indicates if the trade had an
             aggressor and, if so, which side of the book it was on.
             When an Aggressor Side is defined (1 = Buy, 2 = Sell),
             the first Order Detail level related to the Summary Level
             represents that aggressor order.




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             The aggressor quantity (tag 32) in the first Order Detail
              entry is equal to the Summary Level fill quantity (tag
              271)
             If the aggressor quantity (tag 32) in the first Order Detail
              entry is equal to the sum of the remaining Order Detail
              entries quantity associated with that Summary Level,
              only customer orders were filled in the trade
             If the aggressor quantity (tag 32) is not equal to the sum
              of the remaining Order Detail entries quantity associated
              with that Summary Level, customer and implied orders
              were filled in the trade. The unreported quantity are the
              participating implied orders.
             There may be only one Order Detail entry present, which
              means an aggressing customer order traded against
              implied orders only.
             The aggressor quantity (tag 32) in the first Order Detail
              entry is not equal to the Summary Level fill quantity (tag
              271)
             In this case, the aggressor joined a pool of resting orders
              and thereby created sufficient quantity to trigger a trade.
             This scenario can occur in any ratio spread where a
              different minimum quantity is required for each leg in
              order for the spread to trade. Examples include IVR and
              butterfly spreads.”

https://www.cmegroup.com/confluence/display/EPICSANDBOX/MD
P+3.0+-+Trade+Summary+Order+Level+Detail Last reviewed on
1/22/2021.

      147. The CME describes the impact of an aggressor or an aggressing order

as follows:

      An "Aggressor" or "Aggressing Order" by definition is an incoming
      order matching with one or more orders resting on the order book.
      The Aggressor pulls liquidity out of the order book by triggering a
      match event removing resting quantity and potentially price level
      from the order book.


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      The Aggressor is identified in each order match during the
      continuous trading period and reported on all three customer
      interfaces, Order Entry, Market Data, and Post-Matching/Clearing.
      There is no Aggressor indicator for trades occurring at the end of the
      market opening auction or any other state other than continuous
      trading.
https://www.cmegroup.com/confluence/display/EPICSANDBOX/Order+Function

alities [last reviewed on 1/22/2021].

      148. The CME describes multiple situations in which a transaction is not

assigned an aggressor tag even if it has the impact of matching with one or more

orders resting on the order book (and thereby “removing resting quantity and

potentially price level from the order book”). These situations include the use of

the mixing of a spread order and outright order to create an implied order for the

execution, and during the market open re-open resolution trades.

https://www.cmegroup.com/confluence/display/EPICSANDBOX/MDP+3.0+-

+Trade+Summary+Order+Level+Detail [last reviewed on 1/22/2021].

      149. Also, the CME does not report an aggressor tag for market open and

re-open resolution trades. Id.

      150. Likewise, for spread trading the CME states

             “For trades involving spread instruments, the Aggressor
             is reported at the spread level only. Meaning, that the
             aggressor flag is only present in the Fill Notice for the
             spread summary and the flag is not present in the Fill
             Notices submitted for the leg components of the spread.”


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https://www.cmegroup.com/confluence/display/EPICSANDBOX/Order+Function

alities [last visited on 1/26/2021].

         151. Accordingly, even transactions that do not appear in the CME

aggressor column, may functionally constitute “aggressor” transactions if they

remove resting bids or offers from the order book.

         152. The CME record of aggressor sales minus the aggressor purchases for

a given period (e.g., April 20, 2020) is one indication of the cumulative net selling

pressure placed on the market during that period.

         153. If a market participant’s aggressive sales exceed that participant’s

aggressive buys over a given period, then that participant will exert downward

pressure on prices during that period. The greater the difference between the

participant’s aggressive purchases and sales, the more selling pressure and the

greater the decline in prices that participant will cause over that period, all else

equal. The greater the percentage that a market participant’s net aggressive sales

represent of the entire market’s net aggressive sales over a given period, the larger

the proportion of the price decline during that period the market participant may

cause.

         154. Total CME Net Aggressor Sales Of May Contracts On April 20.

The CME Market Depth FIX records reflect aggressive sales of approximately

47,077 May Contracts and aggressive purchases of approximately 20,769 May

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Contracts on April 20. Subtracting the May Contracts transacted in aggressive

purchases from the May Contracts transacted in aggressive sales on April 20,

produces a net aggressive sales of May Contracts on April 20 of 26,306 contracts

for the Chicago trading day from 9am.

      155. Through their coordinated selling pressure on the May Contract and

their coordinated diversion of buying pressure into the TAS contract, the Vega

Trading Defendants also made on April 20 aggressive sales of May Contracts that

were much greater than their aggressive purchases of May Contracts.

      156. Estimating Vega’s Aggressive Sales. The CME has a column which

designates trades as “aggressor” trades in its Order Entry, Market Data, and Post-

Matching/Clearing. A comparison between the exact prices and the exact times (to

the nanosecond) of the transactions reflected in the CME’s Market Data as

aggressive sales, with the exact prices and exact times (to the nanosecond) of

Vega’s sales of May Contracts reflected in Vega’s records, produces an estimate of

the approximate amount of aggressive sales made by the Vega Defendants during

April 20. Based on this comparison, Plaintiff estimates that the Vega Defendants

made aggressive sales of at least       May Contracts on April 20.

      157. Estimating Vega’s Aggressive Purchases. A comparison between

the exact prices and exact times to the nanosecond of the transactions reflected in

the CME market data as aggressive purchases, with the exact prices and exact


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times (to the nanosecond) of Vega’s purchase of May Contracts reflected in Vega’s

records, produces an estimate of the approximate amount of May Contracts of

which Vega made aggressive purchases of approximately         contracts on April

20.

      158. Based upon the comparison of the data sets, Plaintiff has good

grounds to believe and does allege that Vega made aggressive sales of at least

      May Contracts and aggressive purchases of approximately        May

Contracts during April 20. Discovery is needed to determine the exact extent of

Vega’s aggressor purchases and sales.

      159. Estimating Vega’s Net Aggressive Sales. Subtracting Vega’s

estimated aggressive purchases of       contracts from Vega’s estimated aggressive

sales of       May Contracts on April 20 produces a net aggressive sales by Vega

on April 20, of at least      contracts.

      160. Estimating The Percentage That Vega’s Net Aggressive Sales

Constituted Of The Entire Market’s Net Aggressive Sales On April 20. The net

aggressive sales by Vega of         May Contracts on April 20 constitutes

approximately 26.4% of the total net aggressive sales of        May Contracts by

the entire market on April 20.

      161.    Applying the same methodology as applied above to the time periods

within May 20, Plaintiff has good grounds to believe and does allege as follows.


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           period. Thus, the Vega Trading Defendants’ sales of May Contracts
           during this time period constituted at least        of the total net
           aggressive sales of the total market during this time period.
      163. Plaintiff has good grounds to believe and does allege that discovery

will show that the Vega Defendants exerted an increasing cumulative net

aggressive selling pressure on the May Contract during April 20; that their net

aggressive sales ramped up during the last hours, the last hour, and the last 30

minutes of trading; and that the combination of these steps exerted a substantial

downward effect on prices during April 20.

   F. High Degree Of Communications Among Most Vega Defendants And
      The Common Plan For Everyone To Be Short And Use Manipulative
      “Ammo” At The End Of Trading.

      164. In furtherance of their agreement to depress May Contract prices, the

Vega Trading Defendants communicated, in real time, about their sales of the May

Contract and related matters. To do so, such Defendants employed text messages,

group text messages, phone calls, and private “bulletin board” texting available via

mobile phone “apps” such as “WhatsApp”.

      165. Through these means, the Vega Trading Defendants discussed their

May Contract positions, their selling of WTI futures, their buying of TAS

positions, and their plans for depressing WTI futures contract prices.

      166. Pursuant to Defendants agreement, Defendants Trader 12

Trader 9


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caused per contract sold through the use of the manipulative device of “ammo”

sales. See allegations “D” immediately preceding this section.

      168. Pursuant to Defendants’ agreement, three Vega Trading Defendants

Trader 9Trader 6 Trader 4




      169. As is revealed by a comparison of all the records in this

communication with Defendant Trader 9 statements alleged above in his

communication with Defendant Trader 12 Defendant Trader 4

                                                                         However,

Plaintiff has good grounds to believe and does allege that Defendant Trader 4

                Trader 9           Trader 12
                                                                       Defendant

Trader 4 sold        May Contracts from 1 p.m. Chicago time to 1:30 pm.

      170. Some of these conversations include the following:




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      171. Also pursuant to their combination and agreement, Defendants

Trader 1 and Trader 5 engaged in various conversations to keep one another

apprised of their positions and intentions via texts on WhatsApp. Among other

things, they compared their trading positions and confirmed their mutual intentions

to sell May Contracts outright.




      172. Plaintiff has good grounds to believe and does allege that Defendants

Trader 1       and Defendant Trader 5 confirmed to one another that the other

Vega Trading Defendants were engaged in the same pattern of placing cumulative

net selling pressure into the May Contract and diverting buying pressure away

from the May Contract and into the TAS market.

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      174. The communications between Defendant Trader 1 and Trader 5

also indicate Defendants’ mutual knowledge of their concerted diversion of buying

pressure away from the May Contract and into TAS contracts.




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contract. For example, on April 20, 2020, the May Contract cash settled to the

settlement price of the May 2020 NYMEX WTI crude oil futures contract on April

20, 2020 (i.e., negative $37.63).

      199. On April 20, 2020, the total volume of May Contracts traded was

approximately 20,789 contracts. At the end of trading on April 20, 2020, a total of

approximately 23,241 May Contracts remained open and thereby were cash settled

to the settlement price of the May Contract on April 20, 2020 (i.e., negative

$37.63).

      200. On April 20, 2020, numerous Vega Trading Defendants engaged in a

manipulative trading strategy on the ICE that was virtually identical to the

manipulative trading strategy employed by the Vega Trading Defendants on the

NYMEX (see ¶¶138-139 above): selling May Contracts and buying May Contracts

via TAS. See ¶¶203 below.

      201. Because the settlement price of the May Contract on April 20, 2020

would be, by its express terms, determined by the closing price of the May 2020

NYMEX WTI futures contract on April 20, 2020 (see ¶¶ 198-99 above), the Vega

Trading Defendants’ artificial suppression of the May 2020 NYMEX WTI futures

price alleged herein necessarily resulted in an artificially depressed price of the

May Contract.




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     219.                                                   Trader 12
Trader 11


                                               Trader 12 Trader 11



     See ¶218.

     220.                                               Trader 12Trader 11

                                            Trader 12 Trader 11




                              See ¶218.

     221.

            Trader 12Trader 11




              See ¶218.




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      222.

                                       Individual A




      223.




       2. The Formation Of Vega.
         a. During 2015 And 2016, The United Kingdom Announces And
            Implements Enhanced Prohibitions Of Manipulation
      224. By as early as May 11, 2015, the U.K.’s Financial Conduct Authority

published its policy proposals and handbook of rules and guidance to support the

implementation of the new European Market Abuse Regulation regime, to apply

from July 3, 2016. FCA consults on Market Abuse Regulation policy proposals

and Handbook changes, FCA Press Release (May 11, 2015), at

https://www.fca.org.uk/news/press-releases/fca-consults-market-abuse-regulation-

policy-proposals-and-handbook-changes; see FCA’s website Market Abuse

Regulation, at https://www.fca.org.uk/markets/market-abuse/regulation, hyperlink

“EU Market Abuse Regulation” (Regulation (EU) No. 596/2014 of the European

Parliament and of the Council of April 16, 2014 on market abuse (market abuse

regulation) and repealing Directive 2003/6/EC of the European Parliament and of


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the Council and Commission Directives 2003/124/EC, 2003/125/EC and

2004/72/EC) (last visited Apr. 27, 2022).

      225. By December 17, 2015, the European Union supplemented the EU

Market Abuse Regulation. See E.U. Commission Delegated Regulation (EU)

2016/522 (applicable from July 3, 2016), at

https://www.fca.org.uk/markets/market-abuse/regulation, hyperlink “Delegated

Regulation 2016/522” (last visited Apr. 27, 2022).

      226. Effective July 3, 2016, the EU Market Abuse Regulation was

automatically applicable in the UK under UK and EU law without the need for any

domestic implementing legislation as the UK was a member of the EU at the time

of implementation, and the UK amended its Financial Services and Market Act

2000 to give effect to and make it compatible with the EU Market Abuse

Regulation. Financial Services and Market Act 2000 (Market Abuse) Regulations

2016, Part 1.1 (Statutory Instruments, 2016 No. 680) (“UK MAR”). See Market

Abuse (Amendment) (EU Exit) Regulations 2019, UK Statutory Instruments (2019

No. 310) (substantially retaining EU Market Abuse Regulation following the end

of the Brexit transition period, pursuant to the European Union (Withdrawal Act

2018), available at https://www.legislation.gov.uk/uksi/2019/310/contents/made

(last visited April 28, 2022).




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      227. For purposes of Article 12(1)(a) of the UK MAR, which prohibits

manipulation, the UK MAR explicitly sets forth non-exhaustive indicators of

manipulative trading, effective July 3, 2016. UK MAR, Annex I

(https://www.fca.org.uk/markets/market-abuse/regulation#revisions, at hyperlink

“Market Abuse Regulation (MAR)”) (“UK MAR, Annex I”). The indications

include:


      (a) the extent to which orders to trade given or transactions undertaken
      represent a significant proportion of the daily volume of transactions in the
      relevant financial instrument …, in particular when those activities lead to a
      significant change in their prices;

      (b) the extent to which orders to trade given or transactions undertaken by
      persons with a significant buying or selling position in a financial
      instrument…, lead to significant changes in the price of that financial
      instrument, related spot commodity contract, or auctioned product based on
      emission allowances;

                                           ****

      (e) the extent to which orders to trade given or transactions undertaken are
      concentrated within a short time span in the trading session and lead to a
      price change which is subsequently reversed;

                                           ****

      (g) the extent to which orders to trade are given or transactions are
      undertaken at or around a specific time when reference prices, settlement
      prices and valuations are calculated and lead to price changes which have an
      effect on such prices and valuations.

UK MAR, Annex I.




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         b. These Enhanced Protections Against Manipulation Created
            Greater Financial And Legal Risks For Firms Which Carried
            Accounts For Manipulators.
      228. After the announcements in 2015 about the increased regulations

against manipulations and market abuses, it was clear that there would be greater

legal and financial risks for registered persons to hold the accounts of

manipulators, including persons who manipulated prices at or around the time of

the determination of the TAS.

      229. These legal and financial risks created incentives to form and opened

opportunities for persons to form trading firms that could assume the substantial

legal and financial risk of working with persons who engaged in TAS

manipulations. Such firms could seek to create a series of norms, trading

procedures, and compliance (or lack thereof) that facilitated and would help defend

against charges of TAS manipulations.

      230. In the foregoing context, Vega was incorporated on May 13, 2016,

with Anthony Gibson as its sole shareholder. See ¶34.

         c. Vega’s Apparent Founder, Anthony Gibson, Is A Business
            Partner With Defendant Trader 1 Including In

      231. Anthony Gibson and Defendant Trader 1              are or have been

business partners in various ventures.




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      232. These include, without limitation,

                             and



      233. On November 9, 2018, Trader 1 Gibson and Trader 5 incorporated

                                 as a private limited company

            According to Companies House records, Trader 5 resigned as

Director on October 7, 2019 and was replaced the same day by Trader 4

identified as “Derivatives Trader.” Trader 4 resigned as Director on May 7, 2020.

All four owned significant shares in                during their directorships, with Trader 1

and Gibson still continuing as Directors of                                      , which has an

active company status with the latest confirmation statement filed on November

18, 2021.
                        Individual A
      234. Defendant                   worked at                           and knew Defendant

Trader 1 while at                         during 2007 and later. According to the

Businessweek article “The Essex Boys: How Nine Traders Hit a gusher With

Negative Oil,” Trader 1 did know                    while Trader 1 was running “an off-site
                                                        Individual A
offshoot of Tower Trading Group,” and when                             and Gaunt left to “start their

own outfit,” Trader 1 and his team of traders joined him.

      235. It was also Trader 1 partner, Anthony Gibson who signed on behalf

of Vega the agreement with GH Financials alleged below.


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only with the Vega Trading Defendants. Instead, GH Financials terminated all

business with Vega.
                                                             Individual A
   1. Long Before April 20, 2020, Defendants Vega And      Well Knew
      That The VTDs Traded In Unison To Manipulate Prices.

      254.   The Vega Trading Defendants “regularly” acted in unison to

make transactions which moved the TAS price at the time of settlement.

      255.   For example, in an award-winning article authored by Liam

Vaughan, Kit Chellel & Benjamin Bain, London Traders Hit $500 Million

Jackpot When Oil Went Negative, Bloomberg Businessweek (August 4,

2020) explicitly reported as follows:


      Vega’s jackpot [on April 20, 2020 in the May contract] …involved about a
      dozen traders aggressively selling oil in unison before the May West Texas
      Intermediate contract settled at 2:30 p.m. in New York…It’s a tactic Vega’s
      traders used regularly, according to another person familiar with the
      firm’s strategy…

See full copy of article, annexed as Exhibit 2 to this Amended Complaint.


      256.   In another award-winning article authored by Liam Vaughan,

The Essex Boys: How Nine Traders Hit a Gusher With Negative Oil,

Bloomberg, (December 10, 2020) explicitly reported that


      …trading records and people who worked alongside them [the VTDs]
      indicate they [the VTDs] frequently operated in a similar fashion [to their
      conduct on April 20th in the May Contract], buying or selling in the same
      direction at key moments.

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See full copy of article, annexed as Exhibit 1 to this Amended Complaint.


      257.    The articles won the British Journalism award for Crime and

Legal Affairs Journalism in 2021. https://pressgazette.co.uk/british-

journalism-awards-winners-2021/

      258.    The award-winning journalism quoted above reports that

“trading records”, “people who worked alongside” the Vega Trading

Defendants, and “a person familiar with the firm’s strategy”, all show or

indicate that, prior to April 20, 2020, the Vega traders “regularly” or

“frequently” traded in a similar fashion to their manipulative trading on

April 20th. Regarding the reference to “trading records” in the award
                                                     Individual A
winning article quoted above, Vega and                              also had complete

knowledge of the trading records of the Vega Trading Defendants. This

included real time knowledge of what the VTDs were trading and doing.
                                Individual A
Prior to COVID, Vega and                       had at times worked in the same office

and “alongside” at least some of the VTDs in the trading arcade.
                                                          Individual A
      259.    In fact, Defendants Vega and                               had access to much more

than simply the trading records. Based on the allegations set forth below,
                      Individual A
Defendants Vega and                  had sophisticated detailed analytical tools in
                                                              Individual A
real time. This enabled Defendants Vega and                                  easily to detect trading

patterns in real time, as these patterns developed. This included high degrees

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     2. The Vega Trading Defendants Engaged in Coordinated Trading
        In WTI Crude Oil Futures Contracts A Month Prior to Engaging
        in Substantially Similar But More Extreme Conduct on April 20,
        2020

       262. By March 19, 2020, the penultimate trading day in the April 2020

NYMEX WTI crude oil futures contract, the trading volume in the April 2020

contract had been significantly reduced. The low volume (i.e., “thin” market)

made the April 2020 contract susceptible to manipulation by “ammo” trading.

       263. The average trading volume in the April 2020 contract for the twenty

(20) trading days preceding March 19, 2020 was approximately 881,814 contracts.

The trading volume in the April 2020 contract on March 19, 2020 was

approximately 136,722 contracts, an 84.5% decrease in the average volume for the

preceding twenty (20) trading days.

       264. On March 19, 2020, the Vega Trading Defendants sold approximately

       April 2020 contracts, purchased approximately             May 2020 contracts,

purchased approximately           April 2020 contracts via TAS and sold

approximately          May 2020 contracts via TAS.



                                      14



          a.


14
  Defendants Trader 10 Trader 8 Trader 11Trader 7 did not trade NYMEX WTI futures on March
19, 2020.
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      265. The foregoing short April and long May “spread” positions, along

with the corresponding TAS orders to buy the April contract and sell May contract

at their respective settlement prices, gave each of the above Vega Trading

Defendants an incentive to depress the price of the April contract relative to the

price of the May contract.

      266.




      267.




      268. Based upon Plaintiff’s interpretations of

                                                      and CME market depth data

for March 19, 2020, Plaintiff alleges as follows with respect to the intra-day

trading of the Vega Trading Defendants on March 19, 2020.




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      271. During the final two (2) minutes of trading on March 19, 2020 (i.e.,

1:28 to 1:30 pm central time) the Vega Trading Defendants sold a total of

approximately      April 2020 contracts. During the final two (2) minutes of

trading, the price of the April-May spread decreased from approximately negative

65 cents at 1:28 pm to approximately negative 69 cents at 1:30 pm. During the

final two (2) minutes of trading, the Vega Trading Defendants sold the April 2020

contract in the following volumes.

         a. Trader 5

         b. Trader 1
                            .
         c. Trader 4

         d. Trader 12

         e. Trader 2

      272. Based on time and sales information in the CME market depth data

                                                             the Vega Trading

Defendants’ (a) sales of approximately         April 2020 contracts during the final

hour of trading constituted approximately       of the volume of April 2020

contracts during that time period; (b) sales of approximately       April 2020

contracts during the final thirty (30) minutes of trading constituted approximately

     of the volume of April 2020 contracts during that time period; and (c) sales of

approximately      April 2020 contracts during the last two (2) minutes of trading

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constituted approximately       of the volume of April 2020 contracts during that

time period.

      273. At the close of trading on March 19, 2020, the April-May spread

settled at negative 69 cents. The closing spread price of negative 69 cents on

March 19 was an all-time low for the spread price of the April-May 2020 contracts

and was more than four standard deviations lower than the mean spread over the

prior year of trading.

      274. At the close of the next trading day on March 20, 2020, the April-May

spread settled at negative 20 cents. Thus, on March 20, 2020, after Vega’s trading

on March 19 had ceased, the spread price rebounded substantially by 49 cents.

      275. In total, the Vega Trading Defendants generated net profits of

approximately            in connection with their trading of April and May 2020

contracts on March 19, 2020:




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   3. Based on the Vega Trading Defendants’ Activities on March 19, 2020
                                                          Individual A
      and Other Reasons, Defendants Vega Capital and                   Knew That
      The Vega Trading Defendants Were Engaged in Manipulative Trading
      And Affirmatively Took Steps To Facilitate The Manipulation.
      276. The potential for abuse of TAS trading in order to affect the price of a

commodity futures contract is well known. The Commodity Futures Trading

Commission (“CFTC”) has brought multiple cases involving TAS trading,

including TAS trading in the WTI crude oil futures market.

      277. In 2016 new regulations were passed in the U.K. that included a non-

exhaustive list of manipulative trading indicators. Such indicators included: (a)

significant buying or selling of a financial instrument that leads to significant

changes in the price of that financial instrument; (b) transactions concentrated

within a short time span in the trading session and lead to a price change which is

subsequently reversed; and (c) transactions undertaken at or around the time when

settlement prices are calculated which have an effect on such prices. All three of


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these indicators were present in respect of the Vega Trading Defendants’ trading

activity on March 19, 2020. See ¶¶224-227 above.

      278. As part of Vega agreement with GH Financials, Vega represented,

warranted and agreed, among other things, that




      279.




      280. As part of its agreement with GH Financials, Vega agreed to

                                                 As part of Vega’s agreement with

the Vega Trading Defendants, Vega agreed to                                  GHF

TOB Annex 3, Section 3


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oil), which was set to expire the following day; (d) a substantial volume of

transactions by the Vega Trading Defendants were concentrated near the end of

trading on March 19, 2020; and (e) the April-May spread price moved in the

direction of Vega’s trading on March 19, 2020 and then reversed on the next

trading day on March 20, 2020. See above.

      285. Despite the coordinated ammo trading in the April 2020 contract on

March 19, which, like the May 2020 contract on April 20, was set to expire the
                                      Individual A
following day, Defendants Vega and                   did not take steps to prevent the Vega

Trading Defendants from engaging in substantially similar manipulative conduct

on a much larger scale on April 20, 2020.

      286. Going well beyond the trading on March 19, on April 20, twelve Vega

Trading Defendants, not eight, engaged in coordinated trading and the Vega

Trading Defendants           their volume of trades on April 20 (more than

contracts on April 20 in the front month contract versus more than                       contracts

on March 19 in the front month contract).

      287.



                                                                 Individual A
                              that Defendants Vega and                          revoked the Vega

Trading Defendants’ access to Vega’s trading accounts.




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   4. The VTDs Stalked Futures Contracts To Determine Those Most
      Vulnerable To Manipulation, And Then Blitz The Market By
      Making Trades In Unison To Move Prices.

      288.     Plaintiff has good grounds to believe and does allege that when

                        stated shortly after the close on April 20th that
             Trader 9
Defendants

             his reference to           referred to the Vega Trading Defendants;

his use of the word              referred to the VTDs’ extensive ammo trades to

drive down prices between 1pm and 1:30; and his reference to                referred

to the May Contract and, specifically, the last 30 minutes of trading therein.

      289.     The VTDs’                   of futures contracts to manipulate the

final settlement prices or prices at other key times, was most likely to be

successful in markets which were thinly traded and had less new entrants

into the market. In such market conditions, the VTDs’ chances to trade in

unison to successfully blitz the market and manipulate prices were much

higher.

      290.     The VTDs often had greater volumes of trades in contracts

which, like the April WTI contract and the May WTI contract, were near the

end of trading and less likely to have new entrants. Such contracts were

more likely to have lower trade volume than earlier during the life of the

contract when there were more new entrants into the market.




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     299. Second,




     300. Third,




     301. Fourth,




     302. Fifth,



     303. Sixth,




     304. Seventh,




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           313. Plaintiff has good grounds to believe and does allege as follows. First,

Individual A
                as used by Defendant                  above, refers to Individual A   . Plaintiff

alleges that it was Individual A                 who called Defendant Trader 9 and told him not to

tell

           a. One basis for Plaintiff’s foregoing belief is that no                        other than
                Individual A         appears in any of the scores of names included in the

                production to Plaintiff.

           b. Another basis is the long train of conduct by Defendants *OEJWJEVBM
                                                                           "
                                                                                  and Vega

                alleged below, which further supports Plaintiff’s allegations that
                               Individual
                Defendant           A       and Vega knew about and participated in Defendants’

                manipulations.

           314. Based on the foregoing, Defendant Individual
                                                       A     statement to Defendant
Trader 9
                                                    on April 20th, constitutes a further

manipulative act intended to minimize the likelihood of detection of the VTDs

manipulation on April 20th, and avoid the adverse consequences of such detection.


               6. Defendant Trader 7

           315.     (a) First, Defendant Trader 7 admits that



           VEGA_MISH_000042650.



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geographically dispersed throughout the United States. Plaintiff believes there are

hundreds of members of the Class.

      336. Common questions of law and fact exist as to all members of the

Class and predominate over any questions solely affecting individual members of

the Class. Among the questions of law and fact common to the Class are:

                a. Whether Defendants combined, conspired, and agreed to

                   manipulate and fix the prices of NYMEX and/or ICE WTI

                   crude oil futures contracts in violation of the Sherman Act;

                b. whether Defendants manipulated NYMEX and/or ICE WTI

                   crude oil futures contracts in violation of the CEA;

                c. whether such manipulation caused NYMEX and/or ICE WTI

                   crude oil futures contracts to be artificial;

                d. whether such manipulation caused cognizable legal injury

                   under the CEA;

                e. whether such injury or the extent of such artificiality may be

                   established by common, class-wide means, including, for

                   example, by regression analysis, econometric formula, or other

                   economic tests;

                f. whether Defendants were unjustly enriched to the detriment of

                   Plaintiff and the Class; and


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                g. the operative time period and extent of Defendants’ foregoing

                    violations.

      337. Plaintiff’s claims are typical of the claims of the other members of the

Class he seeks to represent. Plaintiff and members of the Class all sustained

damages arising out of Defendant’s same course of unlawful conduct alleged

herein.

      338. Plaintiff will fully and adequately protect the interests of all members

of the Class. Plaintiff has retained counsel experienced in complex commodity

futures manipulation and antitrust class actions. Plaintiff has no interests that are

adverse to or in conflict with other members of the Class.

      339. The questions of law and fact common to the members of the Class

predominate over any questions which may affect only individual members.

      340. A class action is superior to other available methods for the fair and

efficient adjudication of this controversy since joinder of all class members is

impracticable. The prosecution of separate actions by individual members of the

Class would impose heavy burdens upon the courts, and would also create a risk of

inconsistent or varying adjudications of the questions of law and fact common to

the Class. A class action, on the other hand, would achieve substantial economies

of time, effort, and expense, and would assure uniformity of decision with respect




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to persons similarly situated. It would do so without sacrificing procedural fairness

or bringing about other undesirable results.

      341. The interest of members of the Class in individually controlling the

prosecution of separate actions is theoretical rather than practical. The Class has a

high degree of cohesion, and prosecution of the action through representatives

would be unobjectionable. Plaintiff anticipates no difficulty in the management of

this action as a class action.

              INJURY TO PLAINTIFF AND CLASS MEMBERS

      342. During the Class Period, Plaintiff and Class members transacted in

WTI crude oil futures contracts at artificial prices and were deprived of a lawfully

operating market.

      343. Further, by reason of the alleged violations of the CEA and Sherman

Act, Plaintiff and Class members sold at prices that were not what they would have

paid in the absence of the extensive unlawful conduct alleged herein. As a result,

Plaintiff and Class members have suffered a legally cognizable injury due to

Defendants’ alleged violations of the CEA and Sherman Act.

      344. Defendants’ manipulation caused fluctuating amounts of artificiality

in the prices of NYMEX WTI crude oil futures contracts beginning at least as early

as April 20, 2020 and continuing until at least until April 21, 2020.




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       345. The specific amounts of actual damages under the CEA and damages

under the Sherman Act have not yet been determined because such determination

will require discovery of the conduct of Defendants, the NYMEX, and other non-

parties.

                         AS AND FOR A FIRST CLAIM
                         AGAINST ALL DEFENDANTS
   (Violation of Section 1 of the Sherman Antitrust Act 15 U.S.C. §1 et seq.)
       346. Plaintiff incorporates by reference and re-alleges all the allegations in

this complaint, as though fully set forth herein.

       347. Defendants Vega Capital London, Ltd., Individual A        the Vega

Trading Defendants (see ¶¶39-59 above), and John Doe Defendants 1-100 entered

into and engaged in a combination and conspiracy in an unreasonable and unlawful

restraint of trade in violation of Section 1 of the Sherman Act Antitrust Act, 15

U.S.C. §1 et seq. (“Sherman Act”).

       348. Defendants combined, conspired, and agreed to manipulate and fix

NYMEX WTI crude oil futures prices and ICE WTI crude oil futures prices during

at least the Class Period.

       349. Defendants’ conspiracy to fix and manipulate prices was spectacularly

successful and allowed Defendants to greatly profit from their violations of Section

1 of the Sherman Act.



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      350. Defendants used instrumentalities of interstate commerce and

adversely affected and restrained trade and commerce through their conspiracy and

effects on prices.

      351. Defendants’ conspiracy to manipulate and fix the prices of NYMEX

WTI crude oil futures contracts and ICE WTI crude oil futures contracts deprived

Plaintiff and members of the Class of the ability to transact in a market free from

manipulated and fixed prices.

      352. The conspiracy alleged herein is a per se violation of Section 1 of the

Sherman Act. Alternatively, the conspiracy resulted in substantial anticompetitive

effects in the NYMEX and ICE WTI crude oil futures markets. There is no

legitimate business justification for, and no pro-competitive benefit caused by,

Defendants’ conspiracy and overt acts taken in furtherance thereof. Any ostensible

pro-competitive benefits are pretextual or could have been achieved by less

restrictive means.

      353. As a direct, material, and proximate result of Defendants’ violations

of Section 1 of the Sherman Act, Plaintiff and the Class suffered injury to their

business and property, including but not limited to transacting at the artificial and

fixed prices caused by Defendants, within the meaning of Section 4 of the Clayton

Antitrust Act, 15 US.C. §12 et seq. (“Clayton Act”).




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      354. Plaintiff and the Class seek treble damages for Defendants’ violations

of Section 1 of the Sherman Act and under Section 4 of the Clayton Act.

                             AS AND FOR A SECOND CLAIM
                              AGAINST ALL DEFENDANTS
 (Manipulation In Violation Of The Commodity Exchange Act 7 U.S.C. §1 et
                                   seq.)



      355. Plaintiff incorporates by reference and re-alleges all the allegations in

this complaint, as though fully set forth herein.

      356. Defendants Vega Capital London, Ltd., Individual A             the Vega

Trading Defendants, and John Doe Defendants 1-100 manipulated and conspired to

manipulate the prices of NYMEX WTI crude oil futures contracts and ICE WTI

crude oil futures contracts in violation of the Commodity Exchange Act, 7 U.S.C.

§1 et seq. (“CEA”). Defendant Vega Capital having held or otherwise financed the

manipulative trades alleged herein for each of the Vega Trading Defendants, is

fully responsible for the manipulation and conspiracy to manipulate alleged herein.
            Individual
Defendant       A        as sole director of Defendant Vega Capital who, again, held or

otherwise financed the manipulative trades alleged herein, is also fully responsible

for the manipulation and conspiracy to manipulate alleged herein.

      357. Plaintiff and members of the Class purchased and/or sold one or more

NYMEX WTI crude oil futures contract and/or ICE WTI crude oil futures contract


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during the Class Period at artificial prices caused by Defendants and were injured

as a result of Defendants’ intentional manipulation and conspiracy to manipulate

the prices of those futures contracts in violation of the CEA, 7 U.S.C. §1 et seq.

         358. In addition to the previously alleged all-time record deviation between

May Contract prices and June WTI contract prices, there was also an all-time

record deviation between May Contract prices and the June Brent futures contract

price.

         359. The spread between the May Contract and the Brent crude June

futures contract price fell 80 standard deviations on April 20. This occurrence was

extremely unlikely in a competitive market. But after Vega’s market power was

removed, the spread between the May Contract and the June Brent contract

snapped back to almost exactly the same level as it had been on April 17 (-9.32 on

April 21 and -9.81 on April 17).

         360. Again, there was no fundamental supply and demand explanation for

these unprecedented deviations in prices of the May Contract from their normal

benchmark on April 20 followed by their unprecedented snapbacks to normality on

April 21, 2020.

         361. The deleterious effects of the Vega Defendants’ concerted conduct

and market power during April 20 were a proximate and substantial cause, as well

as a contributing factor to the extraordinary widening of spreads on April 20. The


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removal of Vega’s concerted conduct and market power, was a substantial and

proximate cause of the snapback in spreads on April 21. The supply-demand

fundamentals were then again expressed in price levels, as they had been on April

17.

      362. Defendants’ conduct and trading activity alleged herein constituted a

manipulation of NYMEX WTI crude oil futures contract prices and ICE WTI

crude oil futures contract prices in violation of Sections 9(a) and 22(a) of the CEA,

7 U.S.C. §§ 13(a), 25(a).

      363. As result of Defendants’ unlawful conduct, Plaintiff and members of

the Class have suffered actual damages and transacted at artificial prices to which

they would not have been subject but for the unlawful conduct of Defendants as

alleged herein.

      364. Plaintiff and members of the Class are each entitled to damages for

Defendants’ violations of the CEA alleged herein.

                         AS AND FOR A THIRD CLAIM
                         AGAINST ALL DEFENDANTS
 (Principal-Agent Liability In Violation Of The Commodity Exchange Act 7
                               U.S.C. §1 et seq.)
      365. Plaintiff incorporates by reference and re-alleges all the allegations in

this complaint, as though fully set forth herein.




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      366. Defendants Vega Capital London, Ltd., Individual A        the Vega

Trading Defendants, and John Doe Defendants 1-100 were principals, agents, co-

venturers and/or guarantors of one another. As agents, co-venturers and/or

guarantors of one another, the Defendants engaged in a manipulative scheme and

conspiracy to manipulate prices alleged herein on behalf of one another and with

one another’s knowledge and authorization.

      367. Under Section 2(a)(1)(B) of the CEA, 7 U.S.C. §2(a)(1)(B),

Defendants are liable for the acts of their agents.

      368. Plaintiff and members of the Class are each entitled to damages for

the violations of the CEA alleged herein.

                       AS AND FOR A FOURTH CLAIM
                         AGAINST ALL DEFENDANTS
(Aiding and Abetting Liability In Violation Of The Commodity Exchange Act
                                            D. U.S.C. §1 et seq.)
      369. Plaintiff incorporates by reference and re-alleges all the allegations in

this complaint, as though fully set forth herein.

      370. Defendants Vega Capital London, Ltd., Individual A        the Vega

Trading Defendants and John Doe Defendants 1-100 each played their component

role and each knowingly aided, abetted, counseled, induced, and/or conspired or

procured the violations of the CEA alleged herein. Defendants knew of the

manipulative scheme and conspiracy to manipulate alleged herein, intended to help

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the other Defendants perpetrate such manipulative scheme and conspiracy to

manipulate and committed one or mor acts in furtherance of such manipulative

scheme and conspiracy to manipulate.

             371. Each of the Vega Trading Defendants utilized or shared trading

accounts held in the name of Defendant Vega Capital London, Ltd. Defendant
Individual
    A        is the sole director of Defendant Vega Capital. As the sole director of

Defendant Vega Capital, the entity that held the trading accounts used to make the
                                                      Individual
manipulative trades alleged herein, Defendants            A        and Vega Capital knew of

the manipulative scheme and conspiracy to manipulate, intended to help the other

Defendants perpetrate the manipulative scheme and conspiracy to manipulate

(which generated large profits for the Defendants) and committed one or more acts

in furtherance of such manipulative scheme and conspiracy to manipulate,

including by holding or otherwise financing the manipulative positions and/or

trades alleged herein.

             372. Each of the Vega Trading Defendants aided and abetted the

manipulative scheme and conspiracy to manipulate including by conspiring to sell

large volumes of May 2020 NYMEX WTI crude oil futures contracts for the

purpose of depressing the price of such contract and the price of the May 2020 ICE

WTI crude oil futures contract.




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      373. Under Section 13 of the CEA, 7 U.S.C. §13c (a), Defendants are

liable for willfully intending to assist the manipulation.

      374. Plaintiff and members of the Class are each entitled to damages for

the violations of the CEA alleged herein.

                         AS AND FOR A FIFTH CLAIM
                         AGAINST ALL DEFENDANTS
          (Manipulation In Violation of the Commodity Exchange Act,
                              7 U.S.C. §§1, et seq. and Regulation 180.1(a))
      375. Plaintiff incorporates by reference and re-alleges all the allegations in

this complaint, as though fully set forth herein.

      376. Defendants Vega Capital London, Ltd., Individual A        the Vega

Trading Defendants and John Doe Defendants 1-100 intentionally or recklessly,

used or employed, attempted to use or employ or conspired to use or employ, one

or more manipulative devices, schemes or artifices to defraud and/or engaged,

attempted to engage, or conspired to engage, in one or more acts, practices, or

courses of business, which operated or would operate as a fraud or deceit in

violation of the 6(c)(1) of the CEA, as amended, codified at 7 U.S.C. §9, and

Section 22 of the CEA, as amended, 7 U.S.C. §25, and Regulation 180.1, 17 C.F.R.

§180.1.

      377. Defendants engaged in a conspiracy to depress prices of the NYMEX

and ICE May 2020 WTI crude oil futures contracts by selling large volumes of the


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May 2020 NYMEX WTI crude oil futures contracts and by sending false signals to

the market, including false price signals resulting from their manipulative and anti-

competitive trading that was not reflective of supply and demand. Defendants’

cumulative net selling pressure, aggressor sales and later their “ammo” sales sent

signals to the market of a frenzy of selling. Defendants did not disclose their

manipulation to the market.

      378. Defendants’ conduct proximately caused injury to Plaintiff and other

members of the Class who transacted in an artificial and manipulated market at

artificial and manipulated prices during the Class Period.

      379. Plaintiff and members of the Class are each entitled to damages for

the violations of the CEA alleged herein.

                         AS AND FOR A SIXTH CLAIM

                         AGAINST ALL DEFENDANTS

 (Principal-Agent Liability In Violation Of The Commodity Exchange Act 7

                    U.S.C. §1 et seq. and Regulation 180.1(a))

      380. Plaintiff incorporates by reference and re-alleges all the allegations in

this complaint, as though fully set forth herein.

      381. Defendants Vega Capital London, Ltd., Individual A        the Vega

Trading Defendants, and John Doe Defendants 1-100 were principals, agents, co-

venturers and/or guarantors of one another. As agents, co-venturers and/or


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guarantors of one another, the Defendants engaged in an intentional or reckless use

of one or more manipulative devices, schemes or artifices to defraud and/or

engagement in one or more acts, practices, or courses of business, which operated

or would operate as a fraud or deceit in violation of the CEA as alleged herein on

behalf of one another and with one another’s knowledge and authorization.

      382. Under Section 2(a)(1)(B) of the CEA, 7 U.S.C. §2(a)(1)(B),

Defendants are liable for the acts of their agents.

      383. Plaintiff and members of the Class are each entitled to damages for

the violations of the CEA alleged herein.

                       AS AND FOR A SEVENTH CLAIM

                         AGAINST ALL DEFENDANTS

(Aiding and Abetting Liability In Violation Of The Commodity Exchange Act

                   7 U.S.C. §1 et seq. and Regulation 180.1(a))

      384. Plaintiff incorporates by reference and re-alleges all the allegations in

this complaint, as though fully set forth herein.

      385. Defendants Vega Capital London, Ltd., Individual A        the Vega

Trading Defendants and John Doe Defendants 1-100 each played their component

role and each knowingly aided, abetted, counseled, induced, and/or conspired or

procured the intentional or reckless use of one or more manipulative devices,

schemes or artifices to defraud and/or engagement in one or more acts, practices,


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the May 2020 NYMEX and ICE WTI crude oil futures contracts and by sending

false signals to the market, including false price signals resulting from their

manipulative and anti-competitive trading that was not reflective of supply and

demand.

      388. Under Section 13 of the CEA, 7 U.S.C. §13c(a), Defendants are liable

for willfully intending to assist the manipulation.

      389. Plaintiff and members of the Class are each entitled to damages for

the violations of the CEA alleged herein.

                       AS AND FOR AN EIGHTH CLAIM

                         AGAINST ALL DEFENDANTS

      (Common Law Unjust Enrichment and Restitution/Disgorgement)

      390. Plaintiff incorporates by reference and re-alleges all the allegations in

this complaint, as though fully set forth herein.

      391. Defendants Vega Capital London, Ltd., Individual A          the Vega

Trading Defendants and John Doe Defendants 1-100 greatly profited financially

                               from their unlawful acts alleged herein to the

detriment of Plaintiff and members of the Class. In addition to being unlawful,

Defendants’ acts were also unfair and inequitable such that permitting Defendants’

retention of their financial benefits resulting from their unlawful and unjust acts




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alleged herein violates the fundamental principles of justice, equity, and good

conscience.

      392. Defendants’ unlawful, inequitable and unjust acts alleged herein

caused Plaintiff and the members of Class to suffer injury, lose money and transact

at artificial prices. Each Defendant should be required to pay the full amount of its

own unjust enrichment to Plaintiff and members of the Class.

      393. Plaintiff and members of the Class are entitled to the establishment of

a constructive trust impressed on the benefits obtained by Defendants from their

unjust enrichment and inequitable conduct alleged herein.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for relief as follows:

   A. for a declaratory judgment that Defendants combined, conspired and agreed

      to manipulate and fix prices of NYMEX and ICE WTI crude oil futures

      contracts in violation of the Sherman Act, 15 U.S.C. §1 et seq.;

   B. for a declaratory judgment that Defendants intentionally manipulated and

      conspired to manipulate NYMEX and ICE WTI crude oil futures prices, and

      caused such prices to become artificial, in violation of the CEA, 7 U.S.C. §1

      et seq.;




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  C. for a declaratory judgment that Defendants are liable for the acts of their

     agents for their manipulation and conspiracy to manipulate in violation of

     Section 2(a)(1)(B) of the CEA, 7 U.S.C. §2(a)(1)(B);

  D. for a declaratory judgment that Defendants aided and abetted the

     manipulation and conspired to manipulate in violation of Section 13 of the

     CEA, 7 U.S.C. §13c(a);

  E. for a declaratory judgment that Defendants intentionally or recklessly

     employed one or more manipulative devices, schemes or artifices to defraud

     and/or engaged in one or more acts, practices, or courses of business, which

     operated or would operate as a fraud or deceit in violation of section 6(c)(1)

     of the CEA, as amended, codified at 7 U.S.C. §9, and Section 22 of the

     CEA, as amended, 7 U.S.C. §25, and Regulation 180.1, 17 C.F.R. §180.1;

  F. for a declaratory judgment that Defendants are liable for the acts of their

     agents for their intentional or reckless employment of one or more

     manipulative devices, schemes or artifices to defraud and/or engagement in

     one or more acts, practices, or courses of business, which operated or would

     operate as a fraud or deceit in violation of Section 2(a)(1)(B) of the CEA, 7

     U.S.C. §2(a)(1)(B);

  G. for a declaratory judgment that Defendants aided and abetted the intentional

     or reckless employment of one or more manipulative devices, schemes or


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     artifices to defraud and/or engagement in one or more acts, practices, or

     courses of business, which operated or would operate as a fraud or deceit in

     violation of Section 13 of the CEA, 7 U.S.C. §13c(a);

  H. for an order impressing a constructive trust temporarily, preliminarily,

     permanently or otherwise on the full amount of each Defendant’s unjust

     enrichment, including the portions thereof that were obtained at the expense

     of Plaintiff and the Class;

  I. for an order certifying this action as a class action pursuant to Rule 23 of the

     Federal Rules of Civil Procedure, designating Plaintiff as the Class

     representative and his undersigned counsel as Class counsel;

  J. for a judgment awarding Plaintiff and the Class damages against Defendants

     for their violations of the Sherman Act, including treble damages, with

     prejudgment interest at the maximum rate allowable by law;

  K. for a judgment awarding Plaintiff and the Class damages against Defendants

     for each of their violations of the CEA, together with prejudgment interest at

     the maximum rate allowable by law;

  L. for a judgment awarding Plaintiff and the Class damages equal to each

     Defendant’s unjust enrichment, including the portions thereof that were

     obtained at the expense of Plaintiff and the Class;




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   M. for an award to Plaintiff and the Class for their costs of suit, including

      reasonable attorneys’ fees and expert fees and expenses; and

   N. for such other and further relief as the Court may deem just and proper.

                           DEMAND FOR JURY TRIAL

      Pursuant to Federal Rule of Procedure 38(b) and otherwise, Plaintiff

respectfully demands a trial by jury.




Dated: May 5, 2022
       Chicago, Illinois

                                        Respectfully submitted,

                                        /s/ Christopher Lovell
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                                        Christopher M. McGrath
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                                        Counsel for Plaintiff



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